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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------------X
 JUSTYNA ZUBKO-VALVA, as Mother and Natural Guardian                             Dkt. No.: 20 Civ. 02663
 of ANTHONY VALVA and ANDREW VALVA, and as
 Administratrix of the Estate of THOMAS VALVA, and
 JUSTYNA ZUBKO-VALVA individually,                                               COMPLAINT

                                   Plaintiff,                                    JURY TRIAL
            -against-                                                            DEMANDED

 THE      COUNTY       OF     SUFFOLK,       CPS   SENIOR                        ECF CASE
 CASEWORKER MICHELE CLARK, Individually and in her
 Official Capacity, CPS SUPERVISOR EDWARD HEEPE,
 Individually and in his Official Capacity, CPS ASSISTANT
 DIRECTOR ROBERT LETO, Individually and in his Official
 Capacity, CPS INVESTIGATOR JENNIFER LANTZ,
 Individually and in her Official Capacity CPS
 INVESTIGATOR MELISSA ESTRADA, Individually and in
 her Official Capacity, CPS INVESTIGATOR LYDIA
 SABOSTO, Individually and in her Official Capacity, CPS
 SUPERVISOR JEAN MONTAGUE, Individually and in her
 Official Capacity, DEPARTMENT OF SOCIAL SERVICES
 COUNTY ATTORNEY RANDALL RATJE, ESQ.,
 Individually and in his Official Capacity, ATTORNEY FOR
 CHILDREN DONNA MCCABE, ESQ., Individually and in
 her Official Capacity, THE LAW OFFICE OF DONNA
 MCCABE, SHANA CURTI, ESQ., Individually and in her
 Official Capacity, ORSETTI & CURTI PLLC, EAST
 MORICHES UNION FREE SCHOOL DISTRICT,
 PRINCIPAL EDWARD SCHNEYER, Individually and in his
 Official Capacity, SCHOOL SUPERINTENDENT CHARLES
 RUSSO, Individually and in his Official Capacity, HOPE
 SCHWARTZ ZIMMERMAN, Individually, ATTORNEY
 FOR CHILDREN ETHAN HALPERN, ESQ, Individually and
 in his Official Capacity, THE LEGAL AID SOCIETY of
 SUFFOLK COUNTY, INC., CHILDREN’S LAW BUREAU,
 MICHAEL VALVA, and ANGELA POLLINA,

                                    Defendants.
 ---------------------------------------------------------------------------X

         Plaintiff, JUSTYNA ZUBKO-VALVA (“Plaintiff”), by her attorney, JON L.

 NORINSBERG, ESQ., PLLC, complaining of the Defendants, respectfully alleges as follows:

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                                 PRELIMINARY STATEMENT

        1.      This action arises out of the tragic death of an 8-year-old boy, Thomas Valva

 (“Tommy”), who was abused, starved, tortured and beaten for several years, until he froze to death

 in his father’s garage on January 17, 2020. Tommy’s death was not only foreseeable, but

 completely preventable.

        2.      For over three years, Plaintiff Justyna Zubko Valva begged, implored and pleaded

 with Defendants to remove Tommy, as well as his two brothers, Anthony and Andrew

 (collectively, “the children”), from the custody of Defendant Michael Valva (“Valva”), and his

 fiancée, Defendant Angela Pollina (“Pollina”), who had abused, starved and tortured the children

 for years. The Defendants did nothing.

        3.      Plaintiff provided Defendants with overwhelming and irrefutable evidence that the

 children were being physically and mentally abused by Valva and Pollina, including documentary

 evidence, audio recordings and transcriptions, photographic evidence, and medical evidence. Still,

 the Defendants did nothing.

        4.       Rather than take action to protect the children, Defendants willfully and

 deliberately ignored the alarming red flags and warning signs of child abuse, leaving Tommy and

 his two brothers completely unprotected from the cruel, inhumane and callous abuse of Valva and

 Pollina.

        5.      As a result of Defendants’ deliberate indifference and gross negligence, all three

 Valva children were, inter alia, starved and beaten, physically, mentally and sexually abused,

 denied access to food, water and clothing, and forced to sleep in the family’s garage in subfreezing

 temperatures, without any access to a bathroom.

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        6.       On January 17, 2020, Tommy froze to death after being forced to spend the night

 locked into Valva and Pollina’s subfreezing garage. It was only then that the two surviving

 children, Andrew and Anthony, were finally removed from the custody of Valva and Pollina, who

 were arrested and charged with multiple criminal counts, including Second Degree Murder.

        7.      By then, however, it was too late.    A wonderful, sweet and innocent little 8-year-

 old boy, Tommy (Ex. A), had suffered grievously for years and had lost his life. Tommy, as well

 as his two brothers, Andrew and Anthony (Ex. B and Ex. C), had endured years of being physically,

 mentally and sexually abused, tortured and starved by Valva and Pollina.

        8.      Plaintiff now brings this action to redress the wrongful actions of Defendants,

 whose deliberate indifference, reckless disregard for the children, and grossly negligent conduct

 allowed Valva and Pollina’s abuse of the children to continue for years, and culminated in

 Tommy’s death.

        9.      Plaintiff seeks compensatory damages, punitive damages and attorney’s fees

 pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988 for Defendants’ flagrant violation of her

 children’s civil rights, as well as her own constitutional rights, said rights are secured by said

 statutes and the Constitutions of the State of New York and the United States. Plaintiff also asserts

 various supplemental claims under New York state law.

                                          JURISDICTION

        10.     This action is brought pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988, and the

 First, Fourth, Fifth, Eighth and Fourteenth Amendments to the United States Constitution.

        11.     Jurisdiction is founded upon 28 U.S.C. §§ 1331, 1343 and 1367.




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                                                VENUE

         12.     Venue is properly laid in the Eastern District of New York under U.S.C. §1391(b),

 in that this is the District in which the claim arose.

                                           JURY DEMAND

         13.     Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to

 Fed. R. Civ. P. 38(b).

                                               PARTIES

         14.     Plaintiff JUSTYNA ZUBKO-VALVA is a Caucasian female, a citizen of the

 United States, and at all relevant times a resident of the State of New York, residing presently at

 350 North Corona Avenue, Valley Stream, New York.

         15.     At all times hereinafter mentioned, defendant CPS INVESTIGATOR MICHELE

 CLARK was an investigator with the Child Protective Services Investigations Bureau (“CPS”),

 3455 Veterans Memorial Highway, Ronkonkoma, New York, and was acting in the course of her

 employment with defendant THE COUNTY OF SUFFOLK (“Suffolk County”), and in

 furtherance of the business of the defendant THE COUNTY OF SUFFOLK.

         16.     At all times hereinafter mentioned, defendant CPS SUPERVISOR EDWARD

 HEEPE (“Heepe”), was a supervisor with the Child Protective Services Investigations Bureau,

 3455 Veterans Memorial Highway, Ronkonkoma, New York, and was acting in the course of his

 employment with defendant THE COUNTY OF SUFFOLK, and in furtherance of the business of

 the defendant THE COUNTY OF SUFFOLK.

         17.     CPS ASSISTANT DIRECTOR ROBERT LETO was a high-level supervisor and

 Assistant Director with the Child Protective Services Investigations Bureau, 3455 Veterans

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 Memorial Highway, Ronkonkoma, New York, and was acting in the course of his employment

 with defendant THE COUNTY OF SUFFOLK, and in furtherance of the business of the defendant

 THE COUNTY OF SUFFOLK.

       18.    At all times hereinafter mentioned, defendant CPS INVESTIGATOR JENNIFER

 LANTZ was an investigator with the Child Protective Services Investigations Bureau, 3455

 Veterans Memorial Highway, Ronkonkoma, New York, and was acting in the course of her

 employment with defendant THE COUNTY OF SUFFOLK, and in furtherance of the business of

 the defendant THE COUNTY OF SUFFOLK.

       19.    At all times hereinafter mentioned, defendant CPS INVESTIGATOR MELISSA

 ESTRADA (“Estrada”) was an investigator with the Child Protective Services Investigations

 Bureau, 3455 Veterans Memorial Highway, Ronkonkoma, New York, and was acting in the course

 of her employment with defendant THE COUNTY OF SUFFOLK, and in furtherance of the

 business of the defendant THE COUNTY OF SUFFOLK.

       20.    At all times hereinafter mentioned, defendant CPS INVESTIGATOR LYDIA

 SABOSTO (“Sabosto”) was an investigator with the Child Protective Services Investigations

 Bureau, 3455 Veterans Memorial Highway, Ronkonkoma, New York, and was acting in the course

 of her employment with defendant THE COUNTY OF SUFFOLK, and in furtherance of the

 business of the defendant THE COUNTY OF SUFFOLK.

       21.    At all times hereinafter mentioned, defendant CPS SUPERVISOR JEAN

 MONTAGUE (“Montague”), was a supervisor with the Child Protective Services Investigations

 Bureau, 3455 Veterans Memorial Highway, Ronkonkoma, New York, and was acting in the course

 of his employment with defendant THE COUNTY OF SUFFOLK, and in furtherance of the

 business of the defendant THE COUNTY OF SUFFOLK.

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        22.      At all times hereinafter mentioned, defendant DEPARTMENT OF SOCIAL

 SERVICES COUNTY ATTORNEY RANDALL RATJE, ESQ., (“Ratje”) was an attorney with

 the Suffolk County Department of Law Family Court Social Services Bureau, located at 400

 Carleton Avenue, Central Islip, New York, and was acting in the course of his employment with

 defendant THE COUNTY OF SUFFOLK, and in furtherance of the business of the defendant THE

 COUNTY OF SUFFOLK.

        23.      At all times hereinafter mentioned, defendant ATTORNEY FOR CHILDREN

 DONNA MCABE, ESQ. (“McCabe”), was an attorney with Law Office of Donna M. McCabe,

 1305 Franklin Ave Ste 200, Garden City, New York, and was an Attorney for Children (“AFC”)

 appointed to act on behalf of the children in the matrimonial proceedings taking place in the

 Supreme Court of the State of New York, Nassau County.

        24.      At all times hereinafter mentioned, defendant the LAW OFFICE OF DONNA

 MCCABE, was a law firm duly organized and existing under and by virtue of the laws of the State

 of New York, with its principal place of business, 1305 Franklin Ave Ste 200, Garden City, New

 York, and was owned, operated, maintained and controlled by defendant Donna McCabe.

        25.      At all times hereinafter mentioned, defendant SHANA CURTI, ESQ. (“Curti”),

 was an attorney and principal in the law firm of defendant ORSETTI & CURTI PLLC, located at

 1305 Franklin Ave, Suite 200, Garden City, New York, and was acting as counsel on behalf of

 Defendant Michael Valva in the matrimonial proceedings, and in various real estate and financial

 transactions.

        26.      At all times hereinafter mentioned, defendant ORSETTI & CURTI PLLC, was a

 law firm duly organized and existing under and by virtue of the laws of the State of New York,

 with its principal place of business at 1305 Franklin Ave, Suite 200, Garden City, New York, and

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 was acting as counsel on behalf of Defendant Michael Valva in the matrimonial proceedings, and

 in various real estate and financial transactions.

         27.    At all times hereinafter mentioned, defendant EAST MORICHES UNION FREE

 SCHOOL DISTRICT (“East Moriches School District” or “the School District”), was and is, a

 municipal corporation duly organized and existing under and by virtue of the laws of the State of

 New York, with its principal place of business located at 9 Adelaide Avenue, East Moriches, New

 York.

         28.    At all times hereinafter mentioned, defendant PRINCIPAL EDWARD

 SCHNEYER (“Schneyer”), was a Principal with the East Moriches Elementary School, located at

 523 Montauk Hwy, East Moriches, New York, and was acting in the course of his employment

 with defendant EAST MORICHES UNION FREE SCHOOL DISTRICT, and in furtherance of

 the business of the defendant EAST MORICHES UNION FREE SCHOOL DISTRICT.

         29.    At all times hereinafter mentioned, defendant SCHOOL SUPERINTENDENT

 CHARLES RUSSO (“Russo”), was a superintendent with the East Moriches Union Free School

 District, located at 9 Adelaide Avenue, East Moriches, New York, and was acting in the course of

 his employment with defendant EAST MORICHES UNION FREE SCHOOL DISTRICT, and in

 furtherance of the business of the defendant EAST MORICHES UNION FREE SCHOOL

 DISTRICT.

         30.    At all times hereinafter mentioned, defendant HOPE SCHWARTZ ZIMMERMAN

 (“Judge Zimmerman”) was a Justice with the Supreme Court of New York, Nassau County,

 located at 100 Supreme Court Drive, Mineola, New York, and was presiding over the divorce

 proceedings between Plaintiff and Michael Valva through December 2017.




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          31.   At all times hereinafter mentioned, defendant ATTORNEY FOR CHILDREN

 ETHAN HALPERN, ESQ. (“Halpern”), was an attorney employed by defendant LEGAL AID

 SOCIETY OF SUFFOLK COUNTY, INC., CHILDREN’S LAW BUREAU, located at 320

 Carleton Avenue Suite 2500, Central Islip, New York. Halpern also had a private law office located

 at 889 East Main Street, Riverhead, New York, and was the Attorney for Children appointed to

 act on behalf of the children in the Family Court proceedings taking place in Suffolk County, New

 York, before the Honorable Bernard Cheng.

          32.   At all times hereinafter mentioned, defendant LEGAL AID SOCIETY OF

 SUFFOLK COUNTY, INC., CHILDREN’S LAW BUREAU, was a domestic corporation duly

 organized and existing under and by virtue of the laws of the State of New York, with its principal

 place of business at 320 Carleton Avenue Suite 3800, and was the employer of defendant ETHAN

 HALPERN, the Attorney for Children appointed to act on behalf of the children in the Family

 Court proceedings taking place in Suffolk County, New York, before the Honorable Bernard

 Cheng.

          33.   At all times hereinafter mentioned, defendant MICHAEL VALVA “(Valva”) was

 the biological father of ANTHONY VALVA, THOMAS VALVA and ANDREW VALVA, and

 the former husband of plaintiff JUSTYNA ZUBKO-VALVA, and resided at 11 Bittersweet Lane,

 Center Moriches, New York, 11934, and was an NYPD police officer employed by the City of

 New York.

          34.   At all times hereinafter mentioned, defendant ANGELA POLLINA (“Pollina”) was

 the live-in fiancée of defendant MICHAEL VALVA, and resided at 11 Bittersweet Lane, Center

 Moriches, New York, 11934.




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                                              FACTS

        35.     On January 17, 2020, Plaintiff JUSTYNA ZUBKO-VALVA’s eight (8) year-old

 child, Thomas Valva (“Tommy”) froze to death in garage at the home of his father, Michael Valva,

 after being subjected to years of severe physical, mental and sexual abuse by Valva and his fiancée

 Angela Pollina.

        36.     Tommy’s death was not only foreseeable, but completely preventable.

        37.     For over three years leading up to his death, Plaintiff JUSTYNA ZUBKO-VALVA

 repeatedly warned Defendants that her three young children, including Tommy and his two

 siblings, Anthony and Andrew, were being tortured, beaten, physically, mentally and sexually

 abused and starved by Valva and Pollina.

        38.     Plaintiff JUSTYNA ZUBKO-VALVA provided Defendants with overwhelming

 and irrefutable evidence of abuse, including documentary evidence, audio recordings and

 transcriptions, photographic evidence, and medical evidence.

        39.     Plaintiff JUSTYNA ZUBKO-VALVA also provided Defendants with her

 children’s own recorded statements regarding the enormous physical and mental abuse that they

 were suffering at the hands of Valva and Pollina.

        40.     Plaintiff JUSTYNA ZUBKO-VALVA also specifically warned Defendants that her

 children were in “enormous danger of losing their lives by Michael Valva and Angelina Pollina.”

        41.     Notwithstanding Plaintiff JUSTYNA ZUBKO-VALVA’s repeated warnings, and

 the overwhelming evidence of abuse that Plaintiff JUSTYNA ZUBKO-VALVA had provided to

 Defendants, Defendants did absolutely nothing to protect the children.

        42.     Rather than taking action to protect the children and stop their severe abuse by their

 father Michael Valva and his fiancee Angela Pollina – and report the multiple complaints of abuse

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 that had been made, as they were required to do under New York State Social Services Law –

 Defendants hid the truth about the children’s health and fabricated false, misleading and dishonest

 reports about Plaintiff JUSTYNA ZUBKO-VALVA and her children.

        43.     Defendants not only refused to remove Plaintiff JUSTYNA ZUBKO-VALVA’s

 children from the custody of Valva and Pollina, but also, suppressed, destroyed and falsified

 evidence, thereby ensuring that Plaintiff’s three (3) children would remain in Valva’s custody, in

 order to give Valva and Pollina a green light to continue the severe abuse of Plaintiff’s children.

        44.     In so doing, Defendants flagrantly violated their legal duties under New York State

 Law, and exhibited a shocking indifference to the health, safety and welfare of Plaintiff JUSTYNA

 ZUBKO-VALVA’s children.

        45.     As a result of Defendants’ negligent, reckless and intentional acts of misconduct

 conduct, as set forth above, Plaintiff’s JUSTYNA ZUBKO-VALVA’s eight-year-old son, Thomas

 Valva -- a special needs child on the Autism Spectrum Disorder who was otherwise a happy child

 under Plaintiff’s care, before Valva unlawfully gained temporary custody over him in September

 2017 -- died of hypothermia on January 17, 2020, after being forced to spend the night in a freezing

 cold, unheated, locked garage at Valva’s home, where temperatures plummeted to 19 degrees

 Fahrenheit outside.

        46.     The origins of Tommy’s death can be traced back to a miscarriage of justice which

 took place on September 6, 2017, when Justice Hope Schwartz Zimmerman unlawfully, and

 without any due process whatsoever, summarily took away Plaintiff’s children and gave temporary

 custody of them to Valva. Judge Zimmerman did this by issuing a grossly improper and illegal

 Temporary Full Stay Away Order of Protection against Plaintiff. As detailed below, Judge

 Zimmerman’s unlawful decision was set in motion by Valva and his attorney, defendant Shana

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 Curti, Esq., two months earlier, and was brought to fruition with the active aid, assistance and

 encouragement of defendant Donna McCabe, Esq., the Attorney for the Children.

 Valva Conspires with Defendant Curti and Defendant McCabe to Manufacture False Claims
 of Abuse Against Plaintiff in Order to Gain Custody of the Children.

        47.     In the summer of 2017, Defendant Shana Curti, Esq., together with Defendant

 McCabe, willfully conspired with Michael Valva -- whom Curti was representing in the divorce

 proceedings -- to fabricate abuse claims against Plaintiff, and thereby help Valva gain substantial

 benefits in the divorce case, such as custody of the couple’s three children, as well as sole

 possession of the marital residence, and to completely destroy Plaintiff’s life.

        48.      In furtherance of this conspiracy, Defendant Curti sent a letter dated July 7, 2017

 to United Mortgage Corporation, 25 Melvile Park Road, Ste 110, Melville New York, in which

 she stated -- without any lawful basis for making such a claim -- that Plaintiff would lose custody

 of her children, and that Valva would be granted full and exclusive custody of the children. (Ex.

 D).

        49.     Specifically, in this letter, Defendant Curti wrote that “based off of the current

 situation, Mr. Valva will be receiving close to 100% custody of his 3 children. She might be

 entitled to supervised visits. His kids will be living with him at 11 Bittersweet Lane, Center

 Moriches NY 11934.”

        50.     Thus, defendant Shana Curti, Esq., as attorney for Michael Valva, already knew,

 two (2) months prior to the issuance of the Temporary Custody Order dated 9/06/17, that Nassau

 County Supreme Judge Zimmerman was going to unlawfully and immediately take Plaintiff’s

 three (3) children away from her, based on issuing a fictional temporary Full Stay Away Order of

 Protection against Plaintiff that was not recorded in the Court’s minutes during the Court

 appearance on September 6, 2017, nor was it recorded in the Department of Justice Registry or
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 Police Registry.

        51.     Further, two (2) months prior to the issuance of the Temporary Custody Order dated

 9/06/17, defendant Shana Curti, Esq. already knew that Plaintiff was not going to be allowed to

 have ANY contact with her children, and that she might be entitled ONLY to supervised

 visitations, two (2) months before such a ruling was ever made. Further, Curti already knew that

 Valva was going to have sole possession of the marital residence at 350 North Corona Avenue,

 Apt. 25, Valley Stream, N.Y. 11580.

        52.     The reason why Shana Curti knew that Valva would receive 100% custody of her

 3 children was because she knew that Valva was planning -- with Curti and McCabe’s full

 knowledge, consent and assistance -- on making false allegations of child abuse against Plaintiff

 with the Suffolk County Child Protective Services bureau, in order to justify the unlawful removal

 of Plaintiff’s children from under her care and custody.

        53.     As Valva’s attorney, Curti learned of highly irregular financial transactions that

 Curti knew, or should have known, were a clear indication that Valva was engaged in criminal

 activities and/or had unlawful sources of income that brought in large sums of money that were

 far in excess of what he was actually being paid as an NYPD police officer.

        54.     Specifically, Valva’s bank statements -- which Curti had in her possession and

 which she had used to get a new mortgage for Valva -- showed enormously high bank deposits on

 Valva and Pollina’s account from unknown sources, ranging between $30,000.00 to $130,000.00

 per month. This was a clear sign that Valva and/or Pollina, who was unemployed, were engaged

 in some type of unlawful activities that generated a substantial amount of income.

        55.     Notwithstanding this clear evidence of misconduct, Curti turned a blind-eye to

 these improprieties and made no disclosures to the authorities of these unlawful transactions by

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 Valva and Pollina. Instead, Curti continuously accepted payments from Valva in order to further

 his plan to “receiv[e] close to 100% custody of his 3 children,” and ensure that they would be

 “living with him at 11 Bittersweet Lane, Center Moriches NY 11934.” (Ex. D).

         56.    In furtherance of this unlawful plan, on August 31, 2017, Curti filed an Order to

 Show Cause (“OSC”) seeking, inter alia, a change in parental custody rights. The OSC filed by

 Curti, on behalf of Valva, was rife with blatant lies, misrepresentations, and material omissions of

 fact.

         57.    On the same day, August 31, 2017, Plaintiff also filed an Order to Show Cause

 seeking a Temporary Restraining Order, asking for temporary custody over Plaintiff’s children,

 since she was becoming increasingly concerned over the health, safety and welfare of her three

 children when they were in the presence of Valva and Pollina.

 Judge Zimmerman States on the Record that She is “Not Going to Do Anything” on
 September 6, 2017, but then Changes Her Mind at the Behest of McCabe and Curti

         58.    On September 6, 2017, an appearance was held before the Honorable Hope

 Schwartz Zimmerman, who was presiding over the divorce proceedings between Plaintiff and

 Valva, entitled Michael Valva v. Justyna Valva, Index No. 203503/2015. No hearing was

 scheduled for that day, nor was any oral argument scheduled. In fact, neither Curti’s OSC nor

 Plaintiff’s OSC had been fully briefed and submitted to the Court, and opposition papers were still

 due on both motions.

         59.    For this reason, at the outset of the Court of appearance, Judge Zimmerman stated,

 on the record, “I am not going to do anything today.” Rather, the purpose of this appearance was

 simply to set a schedule for the remaining briefing of the parties’ respective Orders to Show Cause.

         60.    Notwithstanding this statement on the record, Judge Zimmerman would soon make

 a catastrophic decision regarding Plaintiff’s custody right at this conference. This sudden change
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 in the Court’s position was due to outright lies and misrepresentations made by McCabe and Curti.

         61.      Specifically, at the behest of defendant Curti, defendant Donna McCabe, Esq. –

 who was a close personal friend of Curti and/or had prior professional dealings with her, and was

 also friendly with Valva – made several false, misleading and dishonest statements to the Court

 regarding Plaintiff, and urged the Court to change parental custody to Valva, thus helping further

 the plan hatched byValva, Curti and McCabe several months earlier. Curti also appeared at this

 conference and likewise made several materially false and misleading statements to the Court.

         62.     Plaintiff had provided the Court with a flashdrive containing over 400 files of

 evidence pertaining to the abuse of the Valva children by Michael Valva and Angela Pollina, as

 well as the unlawful actions of Donna McCabe toward Plaintiff. Judge Zimmerman completely

 ignored this evidence.

 Based on False, Misleading and Dishonest Claims by McCabe, Plaintiff’s Children Are
 Unlawfully Removed from Her Custody

         63.     Despite the fact that Judge Zimmerman had said, at the outset of the appearance,

 “I’m not going to do anything today,” McCabe nonetheless implored the Court to take the children

 away from Plaintiff and give them to Valva, telling the Court “I believe time for this Court to make

 a change in custody at this point.” Thus, McCabe set in motion the tragic chain of events that

 would ultimately lead to Tommy’s death, and would lead to the severe physical, mental, and sexual

 abuse of all three of Plaintiff’s children.

         64.     In support of this unlawful request, McCabe, acting more like a second attorney for

 Valva then as an advocate for the children, told the Court, falsely, that Valva “has had very limited

 time with his children”, that “there have been no weekend visitations,” and that “there have been

 no holiday visitations.” McCabe failed to disclose the fact that Valva had, in fact, failed to show

 up for his visitation hours on 29 separate occasions – as documented by Plaintiff and given to
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 McCabe – without any notice or explanation to Plaintiff.

        65.     Moreover, as McCabe well knew, Judge Fran Ricigliano who had previously

 barred Valva from overnight visits after reviewing large amounts of evidence files, documenting

 disturbing behavior by Valva, including Valva taking pictures of his private parts and sending

 them to other women while he was putting the kids to bed and they were still awake.

        66.     Further, McCabe told the Court, falsely, that Plaintiff had made up stories about

 her boys crying after being secretly interviewed by McCabe in her office. In fact, the boys were

 visibly upset and crying after being intensively grilled by McCabe in her office, at Valva’s request,

 without Plaintiff’s knowledge or consent. This ex parte interview of the children was in clear

 violation of the Court’s directives, which had required that any such visits be “on notice” to

 Plaintiff. In any event, what McCabe represented to the Court was an outright lie. The boys were

 extremely fearful and intimidated by McCabe and did not want to go back to her again.

        67.     McCabe further told the Court, falsely, that Plaintiff had been non-compliant with

 Court-ordered forensic evaluation of the children by Dr. Peter Favaro. In fact, Plaintiff had been

 fully compliant, but had merely requested that the evaluations be videotaped. The reason for this

 request was that -- as confirmed by audio recordings and certified transcripts of same -- Valva and

 Pollina had been repeatedly and steadfastly attempting to brainwash the children, teaching them

 to say false and hateful things about their mother whenever the children would come over to visit

 them. The two older children were especially vulnerable to this type of brainwashing, since they

 both had special needs (Autism) and could easily be manipulated as a result.

        68.     Moreover, Plaintiff had previously signed a consent form allowing Dr. Favaro to

 evaluate her children and videotape this evaluation. Specifically, on December 2, 2016, Plaintiff

 had signed the Informed Consent to Participate in a Custody Evaluation with Dr. Peter Favaro

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 and/or Smart Parenting. Thus, Plaintiff was not refusing to have the children examined by Dr.

 Favaro. Rather, Plaintiff was simply asking for Dr. Favaro’s evaluation to be video-recorded.

         69.     In presenting the Court with these lies, McCabe improperly vouched for herself as

 an advocate, telling the Court that “Your honor has known me for a long time,” thereby attempting

 to bolster her credibility and lend support to her completely baseless claims.

         70.     McCabe lied to the Court not only to promote the unlawful plan of Curti and Valva,

 but also, to retaliate against Plaintiff for having recently filed a motion remove McCabe as the

 AFC in the case.

         71.     Specifically, on August 21, 2017, Plaintiff had filed a motion with the Nassau

 County Supreme Court asking the Court to remove Donna McCabe as the children’s AFC.

         72.     In this motion, Plaintiff highlighted the fact that McCabe, in violation of her duties

 as the AFC, consistently acted as Valva’s second attorney, repeatedly arguing on his behalf and

 protecting his interests, instead of protecting the interests of the children.

         73.     Plaintiff also pointed out that she had furnished McCabe with audio recordings

 pertaining to Valva and Pollina’s brainwashing of her children, and teaching the children to repeat

 hateful things and false accusations against her. Inexplicably, McCabe never presented the Court

 with the evidence that Plaintiff had presented to her regarding Valva and Pollina’s abuse of the

 children.

         74.     Instead of disclosing the evidence of abuse to Judge Zimmerman -- which she was

 lawfully required to do as the AFC for the Valva children -- McCabe fabricated evidence against

 Plaintiff and falsely accused her of misconduct and requested to the Court to take the children way.

 Tragically, McCabe was successful in her efforts to convince the Court to take Plaintiff’s children

 away from her and award custody to Valva.

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 Without Any Petition, Notice or Hearing, Judge Zimmerman Summarily Takes Away
 Plaintiff’s Children, Flagrantly Violating Plaintiff’s Constitutional Rights without Due
 Process of Law.

        75.     Shockingly, without any notice, without any formal court-filed accusation of

 wrongdoing against Plaintiff, without any Family Offense Petition filed against Plaintiff, without

 any hearing whatsoever – and without any supporting evidence against Plaintiff – on September

 6, 2017, Judge Zimmerman immediately took away Plaintiff’s custody of her children the same

 day, and issued a fictional temporary Full Stay Away Order of Protection against her that was not

 recorded in the Court’s minutes, Department of Justice Registry or Police Registry.

        76.     As set forth below, Judge Zimmerman’s actions were unlawful, unconstitutional

 and a flagrant violation of Plaintiff’s Due Process rights.      Moreover, Judge Zimmerman’s

 summary removal of Plaintiff’s children was a clear violation of the Family Court Act, which sets

 for the mandatory conditions which must be met before children can be lawfully removed from a

 parent’s custody based on alleged neglect.

        77.     The effect of Judge Zimmerman’s unlawful Order was to immediately take away

 Plaintiff’s children, who had been under her care since they were born, and deprive Plaintiff of

 any contact with her children. For 6 months, this Order prohibited Plaintiff from contacting her

 children and their special educational placements that they had attend for a couple of years.

        78.     Judge Zimmerman not only took children away from Plaintiff who had been under

 her care since they were born but also, immediately removed the children from their medically

 necessary special educational placements that they had attended for a couple of years.

        79.     The same day after Plaintiff’s Court appearance, Nassau County Police from the

 Fifth (5th) Precinct, who were close friends of Michael Valva, came to Plaintiff’s house to remove

 her children based on the unlawful temporary Fully Stay Away Order of Protection issued by Judge

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 Zimmerman. Plaintiff was not even allowed to say goodbye to Tommy, since he was picked up

 by his father directly from the school bus that same day.

           80.   In making this ruling, Judge Zimmerman -- who has been featured multiple times

 on the show “Long Island Backstory,” which highlights egregious and unjust rulings made by

 Long Island judges -- unlawfully overturned the prior ruling of Judge Fran Ricigliano.

           81.   Judge Ricigliano was the first judge in the divorce proceedings. After reviewing

 large amounts of evidence files that documented the disturbing behavior by Valva -- including

 taking pictures of his private parts and sending it to other women while he was putting the kids to

 bed, and while the kids were still awake -- Judge Ricigliano denied Valva’s request to have

 overnight visits with the children.

           82.   Notwithstanding this evidence, Donna McCabe, in a flagrant violation of her duties

 as Attorney for the Children, repeatedly and strenuously fought for Valva’s and her request to

 continue to have unsupervised visits with the children, even overnight visits. In so doing, McCabe

 willfully and deliberately ignored the evidence of abuse that Plaintiff had presented to her, and

 directly influenced the decisions of Judge Zimmerman.

           83.   In awarding immediate custody to Valva, Judge Zimmerman had, just like McCabe,

 wholly failed and refused to consider the clear evidence of Valva’s abuse of the children.

           84.   Specifically, Plaintiff had provided a flash drive to Judge Zimmerman containing a

 couple of hundred files that showed the physical, mental and sexual abuse of her children by Valva

 and Pollina. Judge Zimmerman never bothered to examine this evidence before she issued her

 ruling.

           85.   Thereafter, on September 20, 2017, Judge Zimmerman modified the temporary

 Fully Stay Away Order of Protection from September 6, 2017 to allow Plaintiff unsupervised

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 visitations with her children, but she still kept the stay away conditions regarding children’s place

 of living and their school. However, this Order, just like the original September 6, 2017 Order by

 Judge Zimmerman, was not recorded in any court minutes, and was not included in the Department

 of Justice Registry or Police Registry. It was, for all intents and purposes, a completely fictional

 Court Order.

 Judge Zimmerman’s Decision to Summarily Take Away Plaintiff’s Children Violated the
 Family Court Act, and was Done in the Complete Absence of Jurisdiction.

        86.     There was no lawful basis for removing Plaintiff’s children from her custody, much

 less issuing a fully “stay away” order. Simply put, Judge Zimmerman, as the judge presiding over

 the matrimonial proceedings, had no legal authority to make such a ruling. Such a monumental

 decision could only properly be made by a Family Court judge, pursuant to the Family Court Act,

 upon proper notice, a petition and hearing.

        87.     Specifically, under Family Court Act § 1012(f)(i)(B), “a neglected child is a child

 under eighteen … whose physical, mental or emotional condition has been impaired or is in

 imminent danger of becoming impaired as a result of the failure of his parent or other person

 legally responsible for his care to exercise a minimum degree of care.”

        88.     Based on this standard, “[a] party seeking to establish neglect must show, by a

 preponderance of the evidence first that a child’s physical, mental or emotional condition has been

 impaired or is in imminent danger of becoming impaired, and second, that the actual or threatened

 harm to the child is a consequence of the failure of the parent or caretaker to exercise a minimum

 degree of care in providing proper supervision or guardianship.” (Id.) (emphasis supplied).

        89.     The standard of proof in a neglect proceeding is preponderance of the evidence.

 Nicholson v. Scoppettta, 3 N.Y.3d 357 (2005). The burden of proving neglect by a preponderance

 of the evidence rests upon the party seeking to establish neglect. Id., 3 N.Y.3d at 368.
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        90.     Judge Zimmerman blatantly disregarded these legal standards. There was no

 evidence whatsoever that her children were being harmed by Plaintiff. Further, there was no

 evidence that Plaintiff had failed to exercise proper supervision or guardianship over her children.

        91.     Worse still, Judge Zimmerman flagrantly denied Plaintiff’s rights to due process.

 No petition to had been filed to remove custody of Plaintiff’s children. No notice had been given

 to Plaintiff that her children might be taken away from. No opportunity had been given to Plaintiff

 to present evidence or cross-examine adverse witnesses. No notice had been given to Plaintiff that

 she had 30 days to appeal Judge Zimmerman’s summary removal of her children. In short, Judge

 Zimmerman had taken Plaintiff’s children away without any due process whatsoever, and in so

 doing, had acted without any jurisdiction far exceeded her lawful authority as a matrimonial judge.

        92.     Apart from the complete absence of due process, Judge Zimmerman made her

 decision without any evidence whatsoever to support removing the children from Plaintiff’s

 custody. Donna McCabe, the Attorney for the Children, had not provided any evidence to the Court

 that even remotely established “neglect” or “abuse” of the children by Plaintiff. All three children

 were attending their educational placements, and the school officials did not raise any concerns

 regard to Plaintiff’s care of her children. There was simply no basis whatsoever for taking

 Plaintiff’s children away from her.

 Valva Files a Blatantly False Child Abuse Claim with CPS to Ensure that Plaintiff
 Permanently Loses Custody of her Children

        93.     Having succeeded at convincing Judge Zimmerman to unlawfully take away

 Plaintiff’s children and issue a temporary “stay away” order, Valva, McCabe and Curti next

 embarked on making sure that Plaintiff would permanently lose custody of the children, as well as

 the marital residence.



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        94.     Toward this end, Valva, with the full knowledge, consent, guidance and

 encouragement of Curti and McCabe, filed formal child abuse allegations against Plaintiff. These

 blatantly false allegations were filed on the CPS hotline on October 31, 2017, which was the same

 day that Plaintiff had refused to sign the forbearance agreement on the marital residence. Plaintiff

 had refused to sign this agreement because Valva had violated the Court Order issued by the

 Nassau County Supreme Court, dated September 30, 2016, by Judge Zimmerman, and had stopped

 paying the mortgage on the marital residence.

        95.     In his patently false complaint to CPS, Valva claimed that Plaintiff had been hitting

 the children and poisoning them some form of toxic “brown” medicine. Valva also alleged that

 Plaintiff suffered from mental illness, that her condition was deteriorating and that she was

 incapable of caring for her children. Valva made these false claims to CPS with the full knowledge,

 consent and encouragement of Curti and McCabe.

        96.     This false CPS complaint would have severe and disastrous consequences for

 Plaintiff, as set forth more fully below.

 CPS Investigator Michele Clark Becomes Involved in the Case and Readily Accepts Valva’s
 Blatantly False Allegations, While ignoring Plaintiff’s Overwhelming Evidence of Abuse

        97.     CPS Investigator Michele Clark first became involved with the case on October 31,

 2017, when she received a State Central Registry report alleging that Plaintiff was abusing her

 children.

        98.     From the outset, it was obvious that Valva’s claims of abuse were complete and

 outright fabrications.

        99.     On November 1, 2017, Ms. Clark visited Tommy and Anthony at their school.

 Tommy, who was six years old at the time, told Ms. Clark that he had no concerns at all about

 visiting his mother. Further, Tommy told Ms. Clark that his mother does not use physical
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 punishment and that and he is not afraid of his mother. To the contrary, Tommy told Ms. Clark

 that he gets hugs and kisses from his mom when he visits her.

         100.    Anthony, who was eight (8) years old at the time, likewise told Clark that he had

 no concerns at all about visiting his mother. Anthony likewise denied that he was physically

 punished by his mother or that he was in any way afraid of her. Simply put, Clark never observed

 or heard anything that could verify or corroborate Valva’s claim the children were being mistreated

 by Plaintiff.

         101.    The reason for this is simple: there was no evidence whatsoever to support Valva’s

 malicious claims. Had Clark done the bare minimum of an investigation, she would have

 immediately realized that Valva, who was in the middle of a bitter matrimonial dispute, was

 manufacturing these fantastic tales of abuse so that he would get “close to 100% custody of his 3

 children” -- as Curti had written in her July 7, 2017 letter to United Mortgage -- and to justify, ex

 post facto, the unlawful removal of Plaintiff’s children from her custody by Judge Zimmerman.

 Instead, Clark chose to blindly accept Valva’s lies without any supporting evidence whatsoever.

 Plaintiff Files Multiple Reports of Abuse with CPS, But CPS Turns a Blind-Eye to These
 Complaints and Summarily Closes Out the Reports Without Any Investigation

         102.    The tragic irony of the case is that the children were, in fact, being abused at the

 time. But the abuse was not being done by Plaintiff. Rather, it was being done by Valva and Pollina.

         103.    Plaintiff repeatedly tried to alert CPS to Valva and Pollina’s abuse but no one would

 listen. Specifically, Plaintiff filed 3 separate CPS reports, the first on November 7, 2017, the second

 on January 2, 2018, and the third on January 14, 2018.

         104.    In these reports to CPS, Plaintiff tried desperately to alert CPS to the shocking

 evidence of abuse, torture, beating and starvation that the children had suffered since Valva had

 been granted custody on September 6, 2017.
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        105.    In the first CPS report, dated November 7, 2017, Plaintiff informed CPS about her

 children’s severe weight loss and starvation while living at their father’s house. In one month

 alone, Anthony, who was 8 years old at the time, had lost 13.2 pounds. In that same period,

 Tommy, who was 6 years old at the time, had lost 4.4 pounds. Andrew, who was 4 years old at

 the time, had lost 3.7 pounds.

        106.    Further, in her first report to CPS, dated November 7, 2017, Plaintiff also reported

 that Valva and Pollina were beating the children on their heads, hands and backs, putting the

 children in extremely long time-outs without food and drink, and making them stay outside in the

 backyard with no shoes.

        107.    After filing her first report to CPS on November 7, 2017, Plaintiff attempted in vain

 to follow up on this report with CPS. On November 13, 2017, and then again on December 1,

 2018, Plaintiff called the CPS hotline, since she was extremely concerned that her allegations in

 her first CPS report, dated November 7, 2017, had not been investigated by CPS.

        108.    At the time, Plaintiff was not aware of the fact CPS caseworker Michele Clark and

 her supervisor Edward Heepe, had literally not done any investigation pertaining to Plaintiff’s

 report dated November 7, 2017. In fact, Plaintiff later learned that, according to the State Central

 Register database, her first CPS report dated November 7, 2017 was, shockingly, marked

 “CLOSED” after just two days later, on November 9, 2017, by Michele Clark.

        109.    In a flagrant dereliction of their duties, Defendants Clark and Heepe, with the

 express knowledge and consent of their supervisor, Assistant Director Robert Leto, decided to

 close out the November 7, 2017 CPS complaint without any investigation and without making any

 effort to see if the children were, in fact, being abused by Valva and Pollina.

 Plaintiff Meets with the CPS Defendants in December 2017 and Provides Them with Direct
 Evidence of Abuse, But Still CPS Does Nothing.
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          110.     Thereafter, on December 19, 2017, Plaintiff met in person with CPS caseworker

 Michele Clark. Two of Clark’s supervisors, Edward Heepe and Assistant Director Robert Leto

 (collectively, the “CPS defendants”),1 were also present at this meeting. During this meeting,

 Plaintiff repeatedly and emphatically told the CPS defendants about Valva and Pollina’s abuse and

 starvation of the children. Plaintiff implored CPS to investigate these claims and take action to

 protect the children.

          111.     Among other things, Plaintiff emphasized to CPS the fact that Tommy and Anthony

 were losing weight after they went to live with their father, that the children’s educational needs

 were not being met, and that the father was leaving the children outside in the cold without shoes

 as a form of discipline.

          112.     Plaintiff did not rely solely on her own words to convince CPS that the children

 were being abused. Instead, Plaintiff provided CPS with actual proof of abuse. Specifically, at

 the December 19, 2017 meeting with CPS provided defendants Clark, Heepe and Leto, Plaintiff

 provided CPS with a flash drive containing 320 files of direct evidence of abuse of her children by

 Valva and Pollina.

          113.     Plaintiff also provided the CPS defendants with certified transcripts of the audio

 recordings. Apart from the evidence of the abuse, these transcripts confirmed that Valva and

 Pollina were literally trying to brainwash the children, alienating, forcing the children (including

 two children with autism) to repeat extremely hateful and false allegations against Plaintiff. For

 example, the children were forced to repeat things such as: “I don’t love mommy,” “mommy is

 mean,” “mommy don’t hit me,” “mommy don’t touch me,” “I don’t want to go home” and “I don’t


 1 To the extent that additional CPS defendants are referred to later in this Complaint -- including but not limited to,
 Melissa Estrada, Jennifer Lantz, Lydia Sabosto and Jean Montague -- the term “CPS Defendants” shall refer to all
 such defendants when setting forth Plaintiff’s legal claims against CPS.
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 want to stay with mommy.” These recordings also revealed Valva saying derogatory things about

 Plaintiff, such as telling them that their mother was a “loser” and “needed to get a job.”

 The CPS Defendants Ignore Evidence Provided Plaintiff from The Children’s Doctors, All
 of Whom Attest to the Fact that Plaintiff Had a Very Normal and Loving Relationship with
 Her Children.

        114.    Apart from confirming the abuse and brainwashing of the children by Valva and

 Pollina, the recordings also contained evidence which conclusively refuted the false abuse charges

 made by Valva, and which demonstrated, beyond question, that Plaintiff had a loving and caring

 relationship with her children.

        115.    Specifically, the flash drive provided to the CPS defendants contained letters from

 the children’s pediatrician (Dr. Marc Lashley), neuropsychologist (Dr. Beryl Nightingale), both of

 whom are specialists who work with kids with Autism, and both of whom confirmed that Plaintiff

 was, in every possible respect, a loving, caring and devoted parent, and that there were never any

 signs that the children were being abused from her.

        116.    The flash drive also contained a letter from Kimberly Berens, Ph.D, who supervised

 Anthony’s intensive behavioral treatment at Fit Learning in Manhattan. In this letter, Dr. Berens

 spoke glowingly about Plaintiff and her loving relationship with her children, as well as wrote as

 the devasting impact that the children’s separation from their mother would have:

                I am completely shocked and saddened by the removal of Justyna
                Valva’s children from her custody along with the order of protection
                that was issued against her. In the two years that I have known her,
                I have only seen the most devoted and loving mother attempting to
                do everything possible for her children. Anthony adores Justyna and
                I never observed ANY evidence of abuse or maltreatment that would
                lead a judge to remove a child from his/her mother and issue an order
                preventing a mother from even seeing her child. Nothing about this
                ruling is in the best interests of Anthony or his siblings. It is highly
                likely that this ruling will create regression, as well as extreme
                psychological and emotional distress for all of these children and I
                cannot imagine any scenario that justified this course of events.
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 (Id.).

          117.   Dr. Berens also documented the fact that Valva had been touching Anthony’s

 bottom. Dr. Berens, as a mandatory reporter, called the CPS hotline and filed a report regarding

 this improper touching by Valva. The flash drive also contained the children’s progress reports

 and medical evaluations.

          118.   The flash drive also contained evidence that confirmed that when the children lived

 with Plaintiff, they were happy and joyful when they saw Plaintiff, they were always giving her

 hugs, kisses, and telling her that they loved her and missed her. By contrast, the children were

 clearly afraid to go on visitations with their father. After the visitations with Valva, the children

 were visibly nervous, stressed and frightened. In fact, the children were wetting themselves at

 night very often at that point, and they had nightmares.

          119.   In short, the flash drive that Plaintiff provided to the CPS Defendants on December

 19, 2017, showed beyond any doubt that Valva and Pollina – not Plaintiff – had been abusing the

 children physically, mentally and emotionally, and literally were starving them to death. More

 importantly, the evidence presented by Plaintiff utterly eviscerated Valva’s false claims of abuse

 in the October 31, 2017 complaint to CPS.

          120.   During the December 19, 2017 meeting with the CPS Defendants, Plaintiff also

 informed with them that in 2016, she had made a report of sexual abuse by Valva and Pollina to

 the Nassau County Police, as well as to the F.B.I. Plaintiff also told the CPS Defendants that she

 had filed another report of sexual abuse against Valva and Pollina on July 30, 2016.

          121.   Among other things, these police reports documented the following acts of sexual

 abuse against the children: i) Valva would order the children to lick the girls’ (Pollina’s daughters)

 bellies below their belly button, and touch their private parts; ii) Valva would order the children to
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 strip naked and walk around without any clothing; and iii) Valva and Pollina would walk around

 the house naked, and that Pollina’s daughters would walk around the house naked as well.

         122.     During this same meeting, Plaintiff further informed the CPS Defendants that she

 had taken all 3 of her children to Cohen’s Children’s Hospital, where the children had been

 examined and where several specimens had been removed.2

 Plaintiff Files Two Additional Reports with CPS, But the CPS Defendants Ignore These
 Reports and Summarily Mark Them “Closed” Without Any Investigation.

         123.     After receiving the flash drive from Plaintiff on December 19, 2017, the CPS

 Defendants failed to take any action. Not only did they fail to file a petition against Valva and

 Pollina -- despite the overwhelming evidence of their abuse and brainwashing of the children that

 Plaintiff had furnished them -- but they failed to so much as even question Valva and Pollina

 regarding this disturbing evidence. As a result, the abuse against the children not only continued,

 but actually got worse after Plaintiff’s meeting with the CPS defendants on December 19, 2017.

 Specifically, after the CPS defendants received this flash drive, the children’s abuse by Valva and

 Pollina increased in measure, degree, and frequency.

         124.     As a result, Plaintiff felt compelled to submit a second report to CPS on January 2,

 2018. In her second report to CPS, Plaintiff reported that the abuse of her children had greatly

 increased since she had provided CPS caseworker Michele Clark and her supervisors Edward

 Heepe and Robert Leto with 320 files of direct evidence on December 19, 2017, during her meeting

 with them on that date.

         125.     Shockingly, Plaintiff’s second CPS report, dated January 2, 2018 was marked



 2 Inexplicably, the CPS Defendants never picked up the specimens and never had them tested at the crime lab.



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 “CLOSED” only one day later, on January 03, 2018, by Michele Clark’s supervisor, Ed Heepe,

 with the knowledge and consent of Assistant Director Leto. Thus, CPS caseworker Michele Clark

 and her supervisor Ed Heepe had completely ignored, and immediately closed, Plaintiff’s first two

 CPS reports without conducting any investigation whatsoever to Plaintiff’s allegations of abuse,

 even though they were required to conduct an investigation in regard to the reports filed on the

 CPS hotline within 60 days.

        126.    Clark and Heepe were able to bypass this mandatory requirement by marking

 Plaintiff’s reports on the CPS hotline as “duplicative,” when in fact, they knew that the reports

 contained separate and distinct allegations, and were not duplicative at all.

 As A Direct Consequence of the CPS Defendants’ Gross Negligence and Deliberate
 Indifference, Tommy is Severely Beaten by Valva.

        127.    Tommy paid a severe price for Clark and Heepe’s gross negligence and reckless

 disregard of their duties. On January 13, 2018, Tommy (7 years of age at the time, with Autism

 Spectrum disorder), was brutally and severely beaten and assaulted by his father Michael Valva.

 This assault caused visible physical injuries on his buttocks, coagulated blood spots, bruises in red,

 yellow, green color, black and blue, dark red marks and broken blood vessels.

        128.    One day later, on January 14, 2018, Plaintiff filed her third report with CPS. On

 that day, during her court-ordered visitation with the children, Plaintiff noticed severe physical

 injuries on Tommy’s buttocks, including but not limited to, bruises, coagulated blood spots, dark

 red spots, and black and blue marks throughout.

        129.    After seeing these visible injuries, Plaintiff was shocked. She could not believe that

 Valva had beaten Tommy so severely, especially after she had just recently provided the CPS

 defendants with clear evidence of abuse on the flash drive, and she had filed another petition with

 CPS just two weeks earlier. It was obvious that the CPS Defendants had completely and utterly
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 ignored the evidence of abuse that Plaintiff had provided, thereby enabling Valva to commit this

 savage beating.

        130.    After seeing the obvious signs of abuse, Plaintiff called her neighbor from

 Townhouse # 22, Kathy Izzo, to independently verify the injuries on Tommy’s buttocks. Tommy

 told both Plaintiff and Ms. Izzo that his father had hit him 12 times with his hand the day before,

 because Tommy had complained that daddy and Angela were hitting him and putting him on long

 time-outs.

        131.    After this severe beating, Valva had put Tommy on a very long time-out without

 food and drink. As soon as Plaintiff dropped off Tommy and returned home that day, she called

 CPS hotline to immediately file another report of abuse.

 Valva Attempts to Hide Evidence of the Beating by Denying CPS Access to See Tommy, and
 CPS Does Nothing to Stop Him.

        132.    The following day, on January 15, 2018, Valva refused to produce the children for

 Plaintiff’s court-ordered visitation, even though Valva had sent Plaintiff a text message that

 confirmed that he and the children were, in fact, at home at that time.

        133.    During the period of time that Plaintiff was waiting to see her children

 (approximately 2.5 hours), another CPS worker, Mr. Ron Mejia, arrived on the scene regarding

 Plaintiff’s CPS report that had been filed the day before. Mejia knocked and rang the doorbell

 several times, but Valva refused to open the door. Valva did not want the CPS worker to see, with

 his own eyes, the severe physical injuries that he had inflicted on Tommy.

        134.    Rather than directly calling the police himself, as he should have done, Mejia placed

 the burden on Plaintiff to contact the police. Specifically, Mejia instructed Plaintiff to proceed to

 the Suffolk County Police Department (“SCPD”), 7th Precinct, and file a police report.

        135.    Thereafter, Plaintiff did as she was told by Mejia, and filed a police report with the
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 7th Precinct. However, the SCPD, after learning that Michael Valva was a police officer, looked

 the other way and did nothing. The SCPD refused to send over even a single patrol car to check

 on the well-being of Plaintiff’s children, and refused to take any action to compel Valva to produce

 the children for Plaintiff’s Court-Ordered visitation.

        136.    Thereafter, the SCPD created a false and misleading police report to justify its

 inaction. The SCPD created this report to conceal the fact that it had decided to give Valva -- who

 was “one of their own” -- a complete free pass for his willful disobedience of a Court Order, and

 for his deliberate obstruction of CPS worker Ron Mejia from performing his duties.

        137.    Plaintiff subsequently filed a complaint with Internal Affairs to address the SCPD’s

 complete dereliction of its duties, and its unlawful preferential treatment of Valva.             Not

 surprisingly, no action was taken against any of officers involved in this incident.

        138.    Apart from the inaction of the SCPD, neither the CPS Defendants nor defendant

 Suffolk County Attorney Randall Ratje, Esq., made any attempt to remove the children from

 Valva’s home, despite Valva’s flagrant defiance of the Court’s Order, and his willful refusal to

 allow CPS worker Mejia into his home. Nor, for that matter, did these Defendants request that the

 Court issue a warrant for Michael Valva’s arrest.

        139.    On January 16, 2017, Plaintiff had reached the endpoint of her willingness to

 tolerate Clark’s gross dereliction of her duties. Not only had Clark done nothing to protect the

 children, but to the contrary, she had actually impeded Plaintiff’s efforts to protect them by closing

 out, with Heepe’s and Leto’s knowledge, approval and consent,             Plaintiff’s first two CPS

 complaints dated November 7, 2017 and January 2, 2018. In a very real sense, Clark and her

 supervisors had given Valva and Pollina a green light to continue the severe abuse of Plaintiff’s

 children.

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 Plaintiff Informs Clark that She Intends to File a Complaint against Her, and in Retaliation,
 Defendant Clark Initiates a Neglect Petition Against Plaintiff Based on Flagrant Lies

        140.    On January 16, 2018, Plaintiff left a voice mail on Clark’s phone informing her that

 she would be filing a complaint against Clark for conducting her CPS investigation in an extremely

 partial, biased and unfair manner. Plaintiff further stated that it was Clark who was responsible

 for the severe beating and assault of her son Thomas by Valva.

        141.    After learning of Plaintiff’s intention to file a complaint against her, Clark launched

 a preemptive strike and filed a malicious and utterly baseless Neglect Pre-Petition against Plaintiff

 on January 17, 2018 under Family Court Act § 1029, requesting an order of protection for Plaintiff

 to stay away from her children.

        142.    Shortly thereafter, the CPS defendants filed a formal child Neglect Petition (“the

 Petition”) against Plaintiff, which falsely accused Plaintiff of neglecting her children. Clark filed

 this Petition with the full knowledge, consent and encouragement of Heepe and Leto.

        143.    Among other things, the Petition alleged, falsely, that Plaintiff had neglected her

 children by using excessive corporal punishment, and that her impaired mental health placed the

 children in imminent risk of harm.

        144.    At the time Clark filed this Petition in Suffolk County Family Court, she knew that

 the allegations in the Petition were false, misleading and dishonest, and contained many material

 omissions. Clark’s supervisors, Edward Heepe and Robert Leto, likewise knew that the Petition

 was completely false and utterly baseless, yet they nonetheless allowed it to be filed.

        145.    In filing this Petition, Clark was seeking to retaliate against Plaintiff for stated

 intention of filing a complaint against Clark. Clark was further motivated by a desire to deflect

 attention from her own gross failures in as CPS investigator in this case -- which had led directly

 to the severe beating inflicted on Tommy on January 13, 2018 – by effectively “flipping the script”
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 and making Plaintiff the focal point of the investigation, while at the same time instantly

 discrediting her allegations.

          146.   Clark was also motivated by ill-will, spite and her palpable dislike of Plaintiff, who

 was originally from Poland and whom Clark regarded with utter contempt and viewed her as a

 second-class citizen.

          147.   Clark’s claim that she believed that Plaintiff posed a danger to the safety of the

 children was a blatant fabrication. In fact, Clark had previously represented on multiple CPS

 reports that Plaintiff posed no danger whatsoever to the children. Specifically, on her Clark

 affirmatively stated on her State Central Register reports dated October 31, 2018, November 7,

 2017, November 13, 2017, January 8, 2018 and January 15, 2018, that there were NO safety

 concerns that placed the children in immediate danger of serious harm, in regards to her

 investigation against Plaintiff.

          148.   As Clark well knew, it was Valva, not Plaintiff, who was physically abusing the

 children.   Clark implicitly conceded as much when she filed, on the same day, a Neglect Pre-

 Petition against Valva for severely beating up Tommy.

          149.   Clark’s filing of this petition confirms that she in fact knew that Valva was the real

 culprit, not Plaintiff. The Petition she filed against Plaintiff was a complete sham, designed to

 serve as a preemptive strike against Plaintiff for the complaint that she was about to file against

 Clark.

          150.   Clark’s desire to protect herself, and cover up her immense failures as a CPS

 investigator, led her to take actions which had a disastrous impact on the children. Instead of

 immediately removing Plaintiff’s children form Valva’s sadistic abuse, and asking the Court for

 a warrant for Valva’s arrest, Clark only requested that the Court issue a regular Order of Protection

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 against Valva. Clark thus ensured that the children would remain in Valva and Pollina’s custody,

 and would continue to be subjected to their abuse, torture and starvation.

        151.    Clark’s subsequent actions toward Valva amounted to a slap on the wrist. Despite

 the fact that Valva admitted that he had severely beat up his son, he merely received an

 Adjournment in Contemplation of Dismissal for one year, and was required to take some classes

 at a local library.   In effect, Valva was allowed to get off completely scot-free, with no

 consequences whatsoever for his egregious actions.

        152.    In contrast to her treatment of Valva, Clark vigorously and aggressively went after

 Plaintiff, doing everything in her power to prove her Neglect Petition and have Plaintiff’s children

 permanently removed from her custody.

 In Support of Her Retaliatory and Baseless Neglect Petition, CPS Investigator Michele Clark
 Lies to the Court and Suppresses Material Evidence

        153.    In connection with this false Petition, Clark made an appearance in Suffolk County

 Family Court on January 17, 2018. Plaintiff was not present at this conference, as Clark had

 deliberately failed to give her sufficient notice to appear in Court for this conference.

        154.    In fact, Plaintiff only found out about the conference from a “Notice of Intent to

 Apply for Court Order” that had been posted to her door the same day that the conference was

 going to be held. Plaintiff tried in vain to contact the Court and have the conference postponed,

 but the Court decided to hold a hearing regarding Clark’s allegations without Plaintiff present.

        155.    During this initial court conference on January 17, 2018, Clark used this

 opportunity to request from the Court a temporary Full Stay Away Order of Protection against

 Plaintiff. Knowing that Plaintiff was not in Court to defend herself, Clark purposely lied about

 Plaintiff and the alleged dangers that she posed to her children.

        156.    At this hearing, Defendant Clark, with the full knowledge, consent and
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 encouragement of her supervisors Edward Heepe and Robert Leto, claimed that Plaintiff was

 “mentally ill” and that her mental health issues were getting worse over time. Clark thus repeated

 in Court the same false, misleading and dishonest claims that she had made in her Petition.

        157.    At this same hearing, Clark willfully and deliberately hid the truth from the Court

 about critical evidence -- which she had been given by Plaintiff only one month before, on

 December 19, 2017, and which strongly corroborated Valva’s abuse, and completely exonerated

 Plaintiff -- in order to intentionally mislead the Court about Plaintiff’s fitness as a mother.

        158.    Clark’s efforts to deceive the Court were successful. Without Plaintiff having a

 chance to defend herself, since she was not even present at this “hearing,” the Court issued a

 temporary Full Stay Away Order of Protection against Plaintiff, barring Plaintiff from having any

 unsupervised contact whatsoever with her children.

        159.    On January 23, 2018, Clark filed a full formal Neglect Petition against Plaintiff.

 This Petition was rife with blatant lies and materially false claims. There was literally no evidence

 whatsoever to support these spurious claims.

        160.    In this Neglect Petition, Clark made the following patently false statements against

 Plaintiff, all with the full knowledge, consent and encouragement of her supervisors Edward

 Heepe and Robert Leto: i) Plaintiff “inflict[s] excessive corporal punishment” on the children

 when disciplining them; ii) Plaintiff is suffering from an “impaired mental state” which “hinders

 her ability to provide said children with adequate care and supervision”; iv) Plaintiff often

 “demonstrates erratic behaviors”; v) the “children are afraid of [Plaintiff]”; and vi) Plaintiff’s job

 as a corrections officer posed an additional “risk for the safety of said children”, since she is

 allowed to carry a gun, and her “impaired mental state” heightens the risk of danger to the children;

        161.    Based on these false allegations, Clark claimed that Plaintiff’s children were in

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 “imminent risk of becoming physically, mentally and emotionally impaired” by Plaintiff

 “ inflicting excessive corporal punishment upon said children” when “disciplining the children.”

        162.      In a subsequent Court appearance on January 31, 2018, Clark essentially doubled

 down on her false claims against Plaintiff, claiming that Plaintiff was “mentally ill” and that her

 mental health issues had gotten worse since September 2017, when her children were taken away

 from her by Judge Zimmerman. Defendant Clark made these false claims with the full knowledge,

 consent and encouragement of her supervisors Edward Heepe and Robert Leto.

        163.      As Clark well knew, these allegations were completely false. In fact, as Clark

 would later admit, she had no knowledge whatsoever of any psychiatric, psychological or mental

 health disorders afflicting Plaintiff, as no such disorders existed.

        164.      To the contrary, in order to work as a Corrections Officer with the New York City

 Department of Corrections, Plaintiff was required to undergo comprehensive psychiatric and

 psychological testing before she could become employed. There was no evidence that Plaintiff

 suffered from any psychiatric disorder or had any mental health issues of any kind, in any of the

 tests administered by the Department of Corrections. Had Plaintiff been diagnosed with any mental

 health issues, she never would have been hired to work as a corrections officer in the first instance.

        165.      In a failed attempt to bolster her fabricated claims regarding Plaintiff’s mental

 health, Clark contacted Kimberly Berens, PhD,           who had supervised Anthony’s intensive

 behavioral treatment at Fit Learning, and repeatedly asked her about Plaintiff’s behavior and

 mental health.

        166.      Dr. Berens would later testify that she found Clark’s questions to be odd because,

 as she explained, Plaintiff had always acted in a completely appropriate manner around her. She

 had also never seen Plaintiff act in anything but a warm, loving, caring manner toward her children,

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 and she had never heard her talk about the father in a derogatory manner

        167.    Throughout all phases of her involvement in the Family Court Proceedings, Clark

 continued to make false, misleading and dishonest statements to the Court, and hid material

 evidence from the Court. In short, Clark did everything in her power to ensure that Plaintiff would

 permanently lose custody of her children and that the real culprits, Michael Valva and Angela

 Pollina, who had severely abused the children, would be given full, unrestricted custody of the

 children.

 CPS Case workers Jessica Lantz and Melissa Estrada Take Over for Clark and Continue
 Telling Vicious Lies Against Plaintiff and Falsifying Evidence, so as to Ensure that the
 Baseless Neglect Petition Continues.

        168.    In February 2018, Clark was replaced by Defendant Lantz, who was supervised

 by June Johnson, and then, by Defendant Estrada, who was supervised by Defendant Heepe.

        169.     Just as their predecessor Clark had done, Defendants Lantz and Estrada repeatedly

 lied and falsified evidence against Plaintiff -- not only repeating Clark’s lies, but embellishing on

 them and then inventing new ones as well -- in order to ensure that the baseless Neglect Petition

 continued.

        170.    For example, Defendants Lantz and Estrada told the following brazen lies

 about Plaintiff, despite not having a shred of evidence to support these fabricated claims: i)

 Plaintiff’s mental health had deteriorated since losing custody of her children in September 2017;

 ii) Plaintiff’s behavior had become increasingly erratic and concerning; iii) Plaintiff had exhibited

 a recent history of violence, and was out of control; iv) Plaintiff was consistently uncooperative

 and unmanageable when dealing with authority; and v) Plaintiff has a drinking problem.

        171.    These lies, as well as many others, were contained in Lantz’s and Estrada’s CPS

 Reports -- with the full knowledge and consent of their respective supervisors -- and were then

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 forwarded to Defendant Ratje and used against Plaintiff in Family Court, thereby further violating

 her rights and ensuring that the baseless CPS Neglect Petition against her would continue.

        172.    There was no basis whatsoever for any of the false allegations made by Lantz and

 Estrada. In fact, neither one of these Defendants never even spoke with Plaintiff, much less met

 her in person. Neither one of these Defendants had any medical evidence whatsoever to support

 their claims about Plaintiff’s “mental health” issues. They were literally making up facts against

 her out of whole cloth.

        173.    Worse still, both Lantz and Estrada provided a completely false and misleading

 picture of life for the children in the Valva home. According to their glowing reports, the children

 were very happy, well-adjusted and well fed.

        174.    In their reports, Lantz and Estrada stated, falsely, inter alia, that: i) the living

 environment in the Valva home was stable and provided good to excellent living conditions; ii)

 Valva was very affectionate to all of the children, and was very accepting of them; iii) Valva used

 discipline appropriate for the children’s age, development and conduct; iv) Valva provided age

 appropriate care and supervision of the children; and v) Valva accepts responsibility for

 problematic behaviors and conditions, and has taken appropriate steps to initiate change. In short,

 Valva was a very good father and there were no concerns whatsoever about the children’s health,

 safety and welfare.

        175.    Upon reading their reports, it is clear that neither Defendant Lantz nor Defendant

 Estrada had ever even considered the possibility that the children were simply too scared to report

 the severe abuse that they had received from Valva and Pollina, or to tell the truth about the

 starvation that they were forced to endure. Instead, Lantz and Estrada blindly accepted the reports

 from the children that they were not being abused or starved – see, e.g., Court Ordered CPS 1034

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 Report dated October 15, 2018, stating that “the children have denied any maltreatment by their

 father or step-mother Ms. Pollina” -- despite overwhelming evidence to the contrary.

 Assistant County Attorney Randall Ratje Provides Additional False and Misleading
 Evidence to the Court, and Hides Exculpatory Evidence from Plaintiff

         176.    Apart from the perjured testimony and false evidence of Clark, as well as the

 fabricated and misleading reports of Lantz and Estrada, Assistant County Attorney Randle Ratje

 also provided materially false and misleading evidence to the Court, relying in part on the

 fabricated reports of the CPS case workers on the case -- Defendants Clark, Lantz and Estradad –

 and then embellishing these reports and inventing new, false claims about Plaintiff.

         177.    Throughout all phases of the proceedings, from his investigation into the matter to

 his closing argument, Ratje repeatedly attempted to justify the baseless Neglect Petition by

 manufacturing false evidence against Plaintiff. Specifically, Ratje repeatedly made up false claims

 regarding Plaintiff’s mental health and her alleged “delusions” regarding her belief that Valva and

 CPS were working together to falsely accuse Plaintiff of child neglect.

         178.    Throughout all phases of the proceedings, Ratje repeatedly attempted to justify the

 baseless Neglect Petition by willfully and deliberately hiding material evidence that was

 exchanged during the discovery process. Specifically, Ratje repeatedly failed to give Plaintiff full

 and complete records that he was obligated to disclose to her, and then improperly redacted records

 which he was required to disclose in a fully unredacted format.

         179.    In his closing argument during the Neglect proceedings, Ratje devoted almost his

 entire summation to arguing that Plaintiff was mentally ill and that she was under the delusion that

 there was a conspiracy between the children’s biological father, Valva, and CPS to falsely accuse

 of her child neglect. Ratje almost completely ignored the actual claims that were purportedly the

 basis for the Neglect Petition in the first instance.
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        180.    Ratje’s claims about Plaintiff’s alleged “mental illness” were not only blatantly

 false, but also, they were directly contradicted by the results of the extensive psychological testing

 that Plaintiff had undergone in order to become corrections officer.

        181.    As noted above, in order to get and maintain her job at the Department of

 Corrections, Plaintiff had to pass many psychological tests, and had to undergo many one-on-one

 interviews with a psychologist. Plaintiff was, and is, responsible for the care, custody and control

 of dozens of inmates at the same time. Ratje willfully disregarded this material evidence and/or

 concealed same from the Court, in an effort to mislead the Court into to finding that Plaintiff was

 mentally unfit to have custody of her three children.

        182.    As further evidence of Ratje’s bad faith conduct, Ratje had included allegations in

 the Neglect Petition that had no place whatsoever in an Article 10 child neglect case brought under

 the Family Court Act, including but not limited to, the following misleading and irrelevant “facts”:

 i) Plaintiff had remained at Valva’s house after a scheduled visitation pick up; ii) Plaintiff had

 placed a recording device on the children during their visits with Valva; iii) Plaintiff becomes

 angry when the children express their love for the father, or the allegation that Plaintiff talks

 disparagingly about the father and his girlfriend.

        183.    As Judge Cheng noted, in discussing the impropriety of such claims in a child

 neglect petition: “these allegations are more commonly seen in child custody cases.” Simply put,

 there was no lawful basis for including such allegations in a child neglect petition.

        184.    Ratje’s obsession with justifying this baseless Neglect Petition against Plaintiff

 blinded him to the dire harm that the children were suffering at the hands of Valva and Pollina.

 Instead of focusing on the health, safety and welfare of the children, as he was required to do,

 Ratje zealously attempted to use false “evidence” prove that the baseless charges against Plaintiff

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 were, in fact, justified. In effect, it became more important for Ratje to save face for his office and

 the CPS Defendants, than it did to protect the children from being abused, tortured and starved by

 Valva and Pollina.

         185.    In his relentless pursuit of this goal, Ratje egregiously failed in his duties to protect

 the health safety and welfare of the children. Instead of taking action to remove the children from

 the sadistic and abusive care of Valva and Pollina -- thereby exposing the children to severe harm

 and ultimately leading to Tommy’s death -- Ratje manufactured evidence against Plaintiff during

 his investigation, and then used this manufactured evidence to attempt to permanently remove the

 children from Plaintiff’s custody.

 Defendant Halpern Flagrantly Disregards His Duties to the Children and Provides Falsified
 Evidence to the Court, Thereby Ensuring that the Neglect Proceedings Would Continue.

         186.    In conjunction with the unlawful conduct of Ratje, AFC Halpern likewise exhibited

 a shocking and willful indifference toward the safety of the children, and in so doing, flagrantly

 disregarded his duties and responsibilities as their AFC.

         187.    Halpern consistently failed and refused to consider any of the evidence of abuse

 that Plaintiff had provided to him, including documentary evidence, audio recordings and

 transcriptions, photographic evidence, and medical evidence.

         188.    After he was appointed AFC by Justice Cheng on January 17, 2018, Halpern failed

 to meet with any of Plaintiff’s children -- even once -- over the next several months, despite the

 plethora of evidence provided to him regarding the enormous physical and mental abuse of

 Plaintiff’s three children including beatings, starvation, abuse, torture, and brainwashing of

 Plaintiff’s children.

         189.    Much like McCabe had done during the divorce proceedings, Halpern turned a

 complete blind-eye to the shocking evidence of abuse against the children, and instead focused on
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 protecting the rights of Michael Valva and making sure that the Neglect Petition would continue.

         190.    Towards this end, Halpern submitted a false, misleading and dishonest Affirmation

 in opposition to Plaintiff’s motion to dismiss the Neglect Petition. In this Affirmation, dated

 February 20, 2018, Halpern stated falsely, under penalty of perjury, that Plaintiff herself had

 admitted to “hitting the children.”

         191.    This was a bald-faced lie by Halpern. As Halpern well knew, Plaintiff never made

 any such “admission” in court, or anywhere else. Nor for that matter, did Plaintiff ever, in fact,

 use corporal punishment against her children. This was a complete fabrication by Halpern, and it

 helped influence Justice Cheng’s decision to deny Plaintiff’s motion to dismiss the Neglect

 Petition.

         192.    Halpern further misled the Court by stating, under oath, that Plaintiff’s “own

 testimony” had “established elements of a neglect finding.” This was another blatant fabrication.

 In fact, Plaintiff’s testimony had establish no such thing. Plaintiff never once, ever, testified to any

 act or omission on her part that would even remotely constitute “neglect” or “abuse” of her

 children. This claim was a complete, outright lie by Halpern.

         193.    Worse still, Halpern knew, in his role as AFC, that Valva had severely beaten up

 and assaulted Tommy on January 13, 2018 -- causing visible physical injuries to his buttocks and

 lower spine -- and that Plaintiff could not have possibly had anything to do with this assault, since

 the children were in Valva’s custody at the time the beating occurred.

         194.    Still, Halpern did nothing. Halpern did not request from the Court to remove the

 children from Valva’s custody, nor for that matter, did he ask the Court for a Full Stay Away Order

 of Protection or, at the very least, for the imposition of some restrictions on Valva’s custody of the

 children.

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        195.    As a direct result of Halpern’s deliberate indifference and gross negligence, Valva

 and Pollina were allowed to continue to abuse, starve and torture the Valva children with impunity

 for two more years, until Tommy’s death at January 17, 2020.

 McCabe Continues to Improperly Interject Herself into the Family Court Proceedings,
 Despite Having No Legal Authority to Do So.

        196.    Apart from Clark, Ratje and Halpern, defendant McCabe played a significant role

 in the Neglect Petition against Plaintiff. Even though the Family Court matter was in Suffolk

 County -- and McCabe had no lawful authority in this jurisdiction -- McCabe implored Justice

 Cheng to remain on the case as the AFC for the children, despite the fact that a new AFC, defendant

 Ethan Halpern, had already been appointed by the Court on January 17, 2018. Notwithstanding

 McCabe’s efforts to continue to inject herself into the proceedings, Justice Cheng agreed with

 Plaintiff that there was a sufficient appearance of bias on McCabe’s part to remove her from the

 Family Court proceedings.



        197.    Further, McCabe spoke directly to Clark on multiple occasions, and improperly

 attempted to influence Clark by making false, dishonest and misleading statements about Plaintiff,

 including her mental health condition and her ability to act as a mother. McCabe also repeated

 many of the same lies that she had told during the matrimonial court proceedings against Plaintiff,

 and willfully concealed the evidence of Valva and Pollina’s abuse that Plaintiff had provided to

 her. McCabe thus helped ensure that the Neglect Petition was continued against Plaintiff instead

 of being dismissed.

        198.    McCabe also continued to tell blatant lies to the Court in the matrimonial

 proceedings against Plaintiff, even after such proceedings had been stayed by Nassau County

 Supreme Court Judge Lorintz pending the resolution of the Neglect Petition. For example, in an
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 Affirmation dated August 22, 2018, McCabe stated to Judge Lorintz, under oath, that Plaintiff “has

 not seen or called the boys since New Year’s Eve” and has not “made any effort to receive

 information from [the children’s] school or doctors and has not sent cards or gifts for holidays or

 birthdays.” These claims were outright fabrications – as defendant McCabe well knew -- and were

 intended by McCabe to mislead and deceive the Court into thinking that Plaintiff was a “bad

 mother” who didn’t care about her children at all.

        199.    In fact, contrary to McCabe’s lies, during Plaintiff’s visitations with her children,

 she repeatedly gave the children books, toys and clothing. However, the children were extremely

 fearful of Valva and Pollina, and were afraid to take these gifts back home, because they feared

 that they would be punished by Valva and Pollina.

        200.    In this same Affirmation, McCabe also lied to the Court about the children’s fear

 of their mother and their desire to live with their father instead. Specifically, McCabe told Judge

 Lorintz, under oath, that “[t]hese young boys individually and private have expressed to me that

 they do not want to see their mother and they have stated reasons for this position.” However, as

 Mccabe well knew – since Plaintiff had provided her proof in the form of audio recordings and

 certified transcripts -- Valva and Pollina had deliberately and repeatedly attempted to brainwash

 the children to say bad things about their mother. McCabe failed to disclose this material evidence

 to Judge Lorintz. Instead, McCabe suggested that Plaintiff herself had mental health issues and

 was in need of some type of “psychological evaluation.” (Id.)

        201.    McCabe also painted a completely distorted, and wildly inaccurate, portrait of the

 children’s happy lives in Valva and Pollina’s home. For example, in the same Affirmation dated

 August 22, 2018, McCabe stated that the children were “all performing well in school,” were

 “comfortable and assimilated into the household,” “celebrated the holidays” and “enjoyed eating.”

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 In fact, at the same time McCabe wrote these words, the children were being starved to death and

 were being mentally, physically and sexually abused by Valva and Pollina.

 Finding Valva’s Allegations to Be “Less than Credible,” Judge Cheng Dismisses the Neglect
 Petition in its Entirety.

        202.    Notwithstanding the false, misleading and dishonest testimony by Clark, which was

 approved and encouraged by her supervisors Heepe and Leto, and the manufactured claims of

 “mental illness” by Lanz, Estrada and Ratje, on April 12, 2019, Judge Bernard Cheng, J.F.C.,

 dismissed the Neglect Petition against Plaintiff in its entirety, finding that the accusations that had

 been against Plaintiff were baseless.

        203.    Specifically, in his Decision and Order (“Order”) dated April 12, 2019, Judge

 Cheng found that there was “no evidence to support the father’s testimony.” (Order at 17)

 (emphasis supplied). In reaching this conclusion, Judge Cheng explained that he “found Mr.

 Valva’s testimony less than credible.        His testimony appeared to change when asked for

 elaboration …. The Court also found it “curious why neither the father nor Ms. Pollina took any

 pictures of these injuries to document the mother’s alleged abuse.” (Id. at 17-19).

        204.    Further, contrary to the manufactured claims of Ratje and Clark, Judge Cheng

 specifically found that “there is no evidence the mother suffers from a mental illness.” (Id. at 19)

 (emphasis supplied). As Judge Cheng noted, “the Court had the opportunity to observe Mrs.

 Zubko-Valva during the pendency of this case and during her testimony. She [] was focused, goal-

 directed and clear. There was no evidence presented that she suffered from mental illness. There

 was insufficient evidence to show Mrs. Zubko-Valva’s mental health was impaired or that her

 mental health placed the children at imminent risk of harm.” (Id. at 21) (emphasis supplied).

 Indeed, the testimony of other witnesses, such as Kimberly Berens, PhD, and Kathy Izzo, provided

 clear and persuasive evidence that Plaintiff was, in fact, a loving, caring and devoted mother. Thus,
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 Judge Cheng concluded that “in sum, the record as a whole does not support a finding of neglect.”

 (Id. at 22) (emphasis supplied).

 Plaintiff is Further Vindicated When an Administrative Law Judge Determines that CPS
 Should Not Have “Indicated” Plaintiff on Abuse Charges in the First Place.

         205.       Apart from Judge Cheng’s dismissal of the Neglect Petition, Plaintiff received

 further vindication when she was completely cleared of CPS’s neglect charges by Administrative

 Law Judge (“ALJ”) Laureen M. Mannino.

         206.     In a decision dated July 16, 2019, Judge Mannino specifically found that CPS “did

 not meet its burden of presenting a fair preponderance of the evidence that [Plaintiff] committed

 the maltreatment and/or abuse alleged.” (emphasis supplied). Accordingly, Judge Mannino found

 that the original determination made by CPS -- namely, that Plaintiff should be “indicated” on the

 child abuse and neglect charges filed by Valva on October 31, 2017 (SCR Case ID # 26842035) -

 - was unfounded and should be amended to vacate this finding.3

         207.     Stunningly, prior to Judge Mannino’s ruling, the CPS Defendants did not even

 attempt to argue to ALJ Manning that there was sufficient evidence to support the abuse and

 neglect charges that they had filed against Plaintiff. See id. at 2 (“The Agency’s representative

 advised the Administrative Law Judge by email of June 21, 2019 that it was not presenting any

 evidence in support of the indicated report.”) (emphasis supplied).

         208.     Thus, after having forced Plaintiff to defend herself against a completely baseless

 Neglect Petition -- and after having succeeded in obtaining a temporary Full Stay Away Order of

 Protection which barred Plaintiff from having any unsupervised visits with her children – the CPS

 Defendants essentially waived the white flag, and conceded that, in fact, the entire Neglect Petition



 3 An “indicated report” means a report made “if an investigation determines that some credible evidence of the
 alleged abuse or maltreatment exists.” SSL § 412(7).
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 should never have been brought in the first place.4

          209.     While Plaintiff was ultimately vindicated by the rulings of Justice Cheng and ALJ

 Mannino, she suffered greatly as a result of having to defend herself against the baseless charges

 filed by the CPS Defendants against her.

          210.     As a direct consequence of the misleading and perjured evidence submitted by

 Clark, Lanz, Estrada and Ratje, Plaintiff was required to defendant herself in two separate neglect

 trials. During this time period, which spanned 16 months, Plaintiff was not able to see her children

 at all, and even after the Neglect Petition was dismissed, she still was deprived of the custody of

 her children. To this day, Plaintiff is still trying to overcome the damage of the Neglect Petition

 and regain full and permanent custody of her surviving children Anthony and Andrew.

 Despite Clear and Shocking Evidence of Abuse, the School Defendants Turn a Blind-Eye and
 Fail to Protect the Children.

          211.     Apart from McCabe’s lies, and the shocking indifference of the CPS Defendants,

 there were other parties whose actions caused and contributed to Tommy’s death, and the suffering

 of all three children, and Plaintiff herself.

          212.     Specifically, defendants East Moriches School District,                         Principal Edward

 Schneyer, Individually and in his Official Capacity, and School Superintendent Charles Russo,

 Individually and in his Official Capacity (collectively, the “School Defendants”), exhibited a

 shocking and deliberate indifference to the health, safety and welfare of Plaintiff’s children.

          213.     From the time that Valva first took custody of the children in September 2017, until

 the time of Tommy’s death in January 2020, Valva and Pollina repeatedly abused, tortured and


 4 In light of this concession, the CPS Defendants should be collaterally estopped from relitigating the issue of
 whether or not there was sufficient evidence to have indicated Plaintiff on abuse and neglect charges. Since Judge
 Mannino found that there was insufficient evidence to support these charges – and since the CPS Defendants had a
 full and fair opportunity to contest this issue, but failed to do so – this factual determination has now been resolved
 in Plaintiff’s favor, and should not be relitigated in this action.
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 starved all three children.

        214.     Throughout this time period, Plaintiff Justyna Zubko-Valva provided the School

 Defendants with overwhelming and irrefutable evidence of abuse -- just as she had done with the

 CPS Defendants -- including documentary evidence, audio recordings and transcriptions,

 photographic evidence, and medical evidence.

        215.    Further, Plaintiff Justyna Zubko-Valva provided the School Defendants with her

 children’s own recorded statements, which documented and confirmed the physical and mental

 abuse that Valva and Pollina were inflicting upon them.

        216.    In fact, Plaintiff was so worried over the abuse being inflicted upon her children

 that she actually warned the School Defendants that her children were in “enormous danger of

 losing their lives by Michael Valva and Angelina Pollina.” Tragically, this warning proved to be

 true with respect to Tommy.

        217.    Notwithstanding Plaintiff Justyna Zubko-Valva’s repeated warnings, and the

 overwhelming evidence of abuse that Plaintiff Justyna Zubko-Valva had provided to them, the

 School Defendants -- just like the CPS Defendants -- did absolutely nothing.

        218.    Rather than taking action to protect the children, and report the multiple complaints

 of abuse that had been made – as they were required to do under New York State Social Services

 Law – the School Defendants hid the truth about the children’s health and fabricated false,

 misleading and dishonest reports about her children.

        219.    In so doing, Defendants flagrantly violated their legal duties under New York State

 Law and exhibited a shocking indifference to the health, safety and welfare of Plaintiff Justyna

 Zubko-Valva’s children.




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 The Children are Literally Starving to Death, but the School Defendants Fail to Report Valva
 to the Authorities or Take Other Meaningful Action.

        220.    Apart from Plaintiff’s complaints to the School Defendants – which provided actual

 notice of the abuse of the children – there were multiple and repeated red flags of abuse that the

 School Defendants deliberately and willfully ignored.

        221.    Plaintiff’s children were literally starving to death, were coming to school crying,

 hungry, without breakfast, sick for numbers of weeks without proper medical care and rest, with

 visible dirt on their bodies, and with no muscle tone whatsoever.

        222.    Further, the children were coming to school with urine-soaked clothes and wearing

 diapers -- having bathroom accidents and not being able to control their bowel movements --

 despite having been potty trained since two (2) years of age. The children often came to school so

 soiled that school employees could smell urine and feces about their bodies. In fact, on one

 occasion, Tommy came to school so soiled that the urine was swishing in his sneakers.       Valva

 and Pollina either refused to bring clean clothes up to the school, or would wait an excessively

 long time before doing so.

        223.    The children’s starvation was painfully obvious to anyone who observed them. In

 fact, many times during school hours, the children were seen picking up crumbs off of the floor

 and scrounging through the garbage looking for food. The situation got so bad that one of the

 children’s teachers, Ms. Nicole Papa, started buying them snacks and juices. Another

 schoolteacher, school psychologist Renee Emin, spoke to Valva and explained to him that the

 children were hungry and needed more food. Valva did nothing in response.

        224.    The boys were unbearably thin and cried if they were denied food. For children

 who should have been gaining weight as they grew taller, in one year’s time, Anthony lost 20

 pounds. And Tommy lost a great deal of weight at well. The boys were weighed by the school
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 district and thus the School Defendants had actual knowledge of their starvation and

 undernourishment.

        225.    In January 2018, the School Defendants saw clear, irrefutable proof that Tommy

 had been physically beaten and abused by Valva, with severe bruising in his lower spine and

 buttocks area. Despite seeing this evidence, the School Defendants did absolutely nothing to help

 Tommy or his brothers.

        226.    In fact, it was not until September 27, 2018 that the East Moriches Elementary

 School Staff filed its first report on the CPS hotline. The first CPS report was filed by school

 psychologist Renee Emin on the CPS hotline. Thus, for an entire year, from September 2017 to

 September 2018, no complaints had been filed by the School Defendants to help the children.



        227.    During this time period, the School Defendants purposely hid the fact that the

 children were being abused and failed to call the CPS hotline as mandated reporters. Further, the

 School Defendants, believing that it would reflect poorly on the School, did not instruct the

 children’s teachers and school personnel to call the CPS hotline and report the abuse.

        228.    By the fall of 2018, Valva and Pollina’s abuse of the children had become so severe

 that a number of the children’s teachers felt compelled -- despite the complete absence of rules,

 regulations, procedures, guidelines and/or directives from the School Defendants -- to file their

 own complaints with CPS. These complaints were known by CPS, and in fact, were included in

 the three court-ordered CPS investigations and reports (“1034 Reports”) that Justice Cheng had

 ordered CPS to undertake.

        229.    Specifically, East Moriches Elementary School teachers Jennifer Holborow, Jean

 Rakowski, Michelle Caglianao, and school psychologist Ms. Renee Emin all filed reports with

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 CPS. The children’s pediatrician, Susan Walker, M.D, and their pediatric neurologist, Dr. Tejwant

 Bindra, also filed complaints with CPS.

 The Court-Ordered Investigative Reports by CPS Confirm that the Children Are Being
 Severely Abused by Valva and Pollina, but Still Nothing is Done.

        230.    As a result of these multiple complaints, CPS was ordered by the court to conduct

 an investigation into this matter.    Thereafter, CPS generated investigative 1034 Reports on

 October 2, 2018, October 15, 2018, and on March 5, 2019, which contained a plethora of

 statements from the children’s teachers and doctors that confirmed that the children were, in fact,

 being abused, tortured and starved by Valva and Pollina.

        231.    For example, in the CPS 1034 Report dated October 15, 2018, Defendant Lantz

 documented the following highly disturbing claims being made by teachers at the children’s

 school: i) “Ms. Emin (school psychologist) reports that she and the teachers of Anthony and

 Thomas are all concerned as the children have lost a noticeable amount of weight and are both

 very thin and constantly asking for food”; ii) Ms. Rakowski (Anthony’s special education teacher)

 stated that “she has concerns for Anthony”, that he “looks emaciated” and “shoves food in his

 mouth as fast as he can”; iii) Ms. Cagliano (Thomas’ teacher) stated that she had “witness[]

 Thomas eat crumbs off the floor and out of the garbage; iv) Ms. Cagliano further express “concerns

 that Thomas has been sent to school in a wet pull-up” and that he is “not allowed to go to the

 nurse’s office to take it off.”; v) Ms. Holborow (Anthony’s teacher) indicated that she is

 “concerned as Anthony is very thin, has little to no affect, [and] has been observed snatching food

 off the desks and off the floor.”

        232.    In the same CPS 1034 Report, dated October 15, 2018, Defendant Lantz further

 documented evidence from the children’s doctors that the children were severely undernourished.

 Specifically, Dr. Walker reported that he had “concerns” about both Anthony and Thomas, as
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 “both children [were] underweight with their BMI being in the 1st percentile.”

        233.    In another Court-ordered 1034 Report, dated March 6, 2019, CPS documented clear

 and unmistakable evidence that Anthony was being physically abused by Valva and Pollina.

 Specifically, in this report, Anthony had visible bruises on his “buttocks, arms, and upper thighs,”

 which were “unexplained.” When asked about these bruises, Valva claimed, incredibly, that “the

 bruising on Anthony buttocks and upper tights are a result of pimples that Anthony is getting on

 his bottom due to soiling himself.”

        234.    With respect to the bruises on Anthony’s arms and on other areas, Valva “reported

 that Anthony picks at himself due to the autism, which leads him to having bruises on his arms

 and other areas.” (Id.) Despite the fact that Valva had previously been indicated for Excessive

 Corporal Punishment on Tommy in January 2018 -- which had left Tommy with multiple

 lacerations, bruises and welts – CPS blindly accepted these lies by Valva, rationalizing this

 decision by pointing to the fact that “the children have continually denied any use of physical

 discipline being used in the home....” Despite the clear and obvious evidence of abuse, neither the

 School Defendants nor the CPS Defendants took any action to protect the children.

        235.    In this same report, it was also noted that Thomas gave “contradicting explanations

 for a black eye” following “an SCR report received on 1/16/19.” Still, neither the School

 Defendants nor the CPS Defendants took any action to protect the children.

        236.    In this same 1034 report, it was further noted that on February 27, 2019, another

 report had been filed with CPS that alleged that “Anthony has been coming to school with his

 clothes and backpack soaked in urine” and that notwithstanding this fact, Valva and Pollina have

 “fail[ed] to address the concerns.”

        237.     Notwithstanding the evidence contained in these court-ordered CPS investigative

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 reports, the School Defendants, and in particular, Defendant Schneyer and Russo -- who were both

 fully aware of the facts documented in the reports, but completely disregarded the evidence of

 abuse that was provided by the school’s teachers -- continued to deny that there was anything

 wrong with the children.

         238.    In fact, Defendant Schenyer -- worried about the image of the School, and putting

 its own interests above the safety of the children -- repeatedly and brazenly lied to Plaintiff, telling

 her that there was no evidence of abuse and that the children were in good health and safe. The

 objective evidence proved otherwise.

         239.    By November 2018, the children were literally starving to death. Anthony had a

 Body Mass Index (“BMI”) BMI of only .57 percent, Thomas had a BMI of only 1.32 percent and

 Andrew had a BMI of only 15 percent. Still, the School Defendants, and in particular, Principal

 Schneyer, willfully continued to ignore the problem and deny that there was anything wrong, and

 continued to lie to Plaintiff that the children were safe and healthy.

         240.    The willful and deliberate indifference of the School Defendants allowed the abuse,

 torture and starvation of the children to continue unabated, and get worse and worse over time.

 Despite their status as mandatory reporters, and despite their direct knowledge of the abuse

 suffered by the children -- as documented by multiple teachers at the East Moriches Elementary

 School -- neither Schneyer nor Russo ever called the CPS hotline, even once, to report the shocking

 condition of the children to CPS, or to law enforcement authorities.

 Defendants Schneyer and Russo Block Plaintiff From Visiting Her Children in School in the
 Presence of Their Teachers, Further Impeding Her Efforts to Stop the Abuse

         241.    In an effort to protect her children, and stop the abuse from getting any worse,

 Plaintiff tried repeatedly to arrange for short visits with her children at East Moriches Elementary

 School, in the presence of their teachers, as well as to have brief conversations with children’s
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 teachers after seeing her children. Toward this end, Plaintiff sent repeated emails to Defendant

 Schneyer and Defendant Russo, imploring them to allow her to visit her children at school, under

 the supervision of their teachers, even for just five minutes.

        242.     However, both Defendant Schneyer and Defendant Russso repeatedly rebuffed

 Plaintiff’s efforts to meet with her children, under the supervision of their teachers, at the school.

 At first, they told her, falsely, that Plaintiff had been barred by the Court from visiting her children

 at school. This was an outright fabrication.

        243.     In fact, by court Order dated March 6, 2018 -- a copy of which Plaintiff had

 provided to the school -- Plaintiff was expressly permitted to have unsupervised visitations with

 her children without any restriction. This order did not contain any provision that barred Plaintiff

 from being around her children at school.

        244.     Thereafter, Principal Schneyer repeatedly told Plaintiff that, under the rules of the

 School, parents were not allowed to visit their children during the day. Despite Plaintiff’s

 continuous requests to see documentation of this “rule,” Scheneyer refused to do so, implicitly

 conceding that no such rule actually existed.

        245.     As a result of the School Defendants’ repeated denials of Plaintiff’s requests,

 Plaintiff was never able to see her children at school, even once, in the presence of their teachers.

 As a result, the School Defendants willfully prevented Plaintiff from taking actions to protect the

 health, safety and welfare of her children.

        246.     Further, the School Defendants repeatedly obstructed, and interfered with,

 Plaintiff’s rights to see the medical records that had been generated by school nurse Betty

 Grunseich. These records, which Defendants subsequently claimed were “lost,” would provide

 further evidence of the physical abuse and starvation suffered by Plaintiff’s children.

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 The Evidence of Physical Abuse is Readily Visible, But Still the School Defendants do
 Nothing

        247.    Both Tommy and Anthony were subjected to severe physical punishment by Valva

 and Pollina. They were slapped and punched, and were carried by the wrist with their feet not

 touching the floor. Tommy was thrown and dragged down a flight of stairs.

        248.    The boys would arrive at school with scratches, bruises and cuts. Tommy, in

 particular, had a mark on his bottom and lower spine, which he indicated to school officials was

 inflicted by his father, Michael Valva.

        249.    In the early fall of 2019, Tommy had a bump, a bruise and hair pulled from his head

 at the root. In mid-November 2019, both Anthony and Tommy came to school with bruises all

 over their faces and varying explanations from the children and Valva, as to how they were

 sustained.

        250.    Valva had threatened the children with severe punishment if they told the truth

 about how they sustained their injuries, so the children said nothing and/or made up stories about

 what had happened when asked. The School Defendants knew, or should have known, that the

 children’s stories about what had happened were made up out of fear of reprisals by Valva and

 Pollina should they tell the truth about what had actually happened.

        251.    In another instance, Anthony came to school walking in a markedly impaired

 manner, bent over at the waist, with visible finger marks on his arms, and complaining that his

 bottom hurts. The teachers at the school had to place ice on his bottom to help stop the enormous

 pain that he was experiencing.

        252.    Notwithstanding the clear and obvious signs of abuse, the School Defendants did

 nothing. Despite their status as mandatory reporters, the School Defendants essentially viewed

 the children’s abuse as “not our problem,” and did not take any action whatsoever to protect the
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 children from further abuse, torture and starvation.

        253.    Had the School Defendants acted in a timely manner, they could have prevented

 Tommy’s death and could have prevented years of beatings, abuse and starvation for all three

 children. But the School Defendants, in a flagrant violation of their duties under the law, chose

 instead do nothing. The School Defendants never once contacted local law enforcement authorities

 to alert them of the situation and ask them to take action.

 CPS Has One Last Chance to Save Tommy, But Defendant Montague Shuts Down the
 Investigation and Tommy Dies Less than 10 Days Later.

        254.     On January 8, 2020, Defendant Jean Montague, as supervisor of Defendant Lydia

 Sabosto, decided to unlawfully close out the last CPS report that had been filed on the CPS hotline

 on November 18, 2019. This was a disastrous decision.



        255.      Plaintiff had spoken on the phone twice to Ms. Montague and begged her to not

 close down the investigation relating to her children. Plaintiff reminded Montague of the long

 history of documented abuse by Valva and Pollina, and told her she was extremely worried about

 the safety of her children.

        256.    Montague ignored Plaintiff’s pleas, and decided to shut down the CPS investigation

 on January 08, 2020, even though the report should have remained open for 60 days -- from

 November 18, 2019 until January 18, 2020 -- pending further investigation by CPS. This was the

 last chance to save Tommy’s life. Less than ten days later, Tommy would be dead.

 Tommy Freezes to Death as a Result of Valva and Pollina’s Cruel, Callous and Inhumane
 Punishment

        257.    Apart from being beaten and starved, the children were also subject to cruel and

 barbaric forms of punishment, such as forcing the children to eat hot pepper powder, denying the

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 children access to the bathroom, and/or leaving them home alone without any food or water.

        258.    If the children ever attempted to open the refrigerator to get something to eat or

 drink without permission, Valva and Polina would severely punish them, making them stand at

 attention in the freezing cold garage and/or hosing the children down with water in the backyard

 in freezing cold temperatures.

        259.    Another barbaric form of punishment that Valva and Pollina would often use was

 to lock the children in the garage and force them to sleep in subfreezing temperatures, on a cold

 cement slab.

        260.    During such lockdowns, Valva and Pollina refused to allow the children access to

 the bathroom, and did not give them any food or water. Worse still, the children were forced to

 sleep in this cold garage without a mattress, without sheets, without blankets and without even

 adequate clothing to try to keep them warm. If the children complained about this form of

 discipline, then they would be subjected to even longer, and more severe, forms of punishment.

        261.    Valva and Pollina used this type of extreme punishment so often that they actually

 referred to the garage as the “kids room” on their internal security system.

        262.    It was extremely foreseeable that the children would suffer grave harm and/or death

 as a result of being forced to sleep in a subfreezing garage without food, water or proper clothing.

 Tragically, just as Plaintiff had predicted in one of her emails to Schneyer many months before –

 when she had warned him that her children were in “enormous danger of losing their lives by

 Michael Valva and Angelina Pollina” – this is exactly what happened.

        263.    On January 17, 2020, after being subjected to years of severe physical, mental and

 sexual abuse by Valva and Angela Pollina, Tommy froze to death in the garage at Valva’s home.

 Tommy, who was by all accounts a warm, loving, sweet and absolutely adorable child, was just 8

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 years old at the time of his death.

 Tommy’s Shocking Condition Upon Arrival at the Hospital, and Valva’s Lies About What
 Caused His Death

         264.    Upon his arrival at the hospital, Tommy had an internal temperature of 76.1 degrees

 Fahrenheit, and was completely non-responsive. Tommy had literally frozen to death.

         265.    Thereafter, Valva lied about the cause of Thomas’ death, telling hospital workers

 that Tommy, on his way to the school bus, was “running and tripped and struck his head on the

 cement ground” in the driveway.

         266.    However, the hospital workers noted that, in fact, there were “no abrasions to hands

 or knees indicating that the patient fell.”

         267.    Thomas was noted to have multiple abrasions on the top of his hairline and middle

 of his forehead, running down to the bridge of his nose.

         268.    Some of these facial abrasions had scabs on them, indicating that they were older

 injuries.

         269.    Further, Tommy was observed to have two large symmetrical bruises on his

 forehead at the Suffolk County Medical Examiner’s Office. He also had multiple abrasions and

 cuts on his skin, which Plaintiff and her mother observed herself at the Suffolk County Medical

 Examiner’s Office on January 18, 2020.

 Valva’s Horrific Abuse is Further Confirmed at the Arraignment

         270.    At Valva’s arraignment, prosecutors revealed that Valva and Pollina had in fact

 joked about Thomas’s condition on the morning that he died, saying that he had “face planted” to

 the ground due to the cold.

         271.    At arraignment, it was also revealed that Valva and Pollina’s horrific abuse was

 partially captured on Nest cameras that had been installed in every room of the house and in the
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 garage.

           272.   Among other things, the videos recovered by police --despite Valva and Pollina’s

 attempts to erase them and change the password – showed heartbreaking and incomprehensible

 events, including: i) Valva beating one of his children with a closed fist while screaming at him;

 ii) Tommy begging to be let out of his room to use the bathroom; iii) Tommy shivering and

 shaking in the garage, and holding himself, because he needed to use the bathroom, looking into

 the Nest camera with pleading eyes for someone to help him.

           273.   On the morning of Tommy’s death, security footage captured a conversation

 between Valva and Pollina, in which she asks him why Tommy fell to the ground. Valva answered,

 in a shocking display of callous and wanton indifference, “Cuz he was cold. Boo-fkn-hoo. Now

 he’s a bloody [f**king] mess.” Valva and Pollina have since been indicted on Second-Degree

 Murder for Tommy’s death.

 The Deliberate Indifference of the CPS Defendants and the School Defendants, and The
 Gross Negligence and Willful Misconduct of All Other Defendants, Allowed Valva and
 Pollina to Get Away with Their Severe Abuse of the Children for years, and Directly Led to
 Tommy’s Death.

           274.   Based on Defendants’ repeated acts of gross negligence, recklessness, and

 intentional falsification of evidence, as well their repeated failures to act on documentary evidence

 of abuse -- such as the January 13, 2018 documented physical abuse of Tommy by Valva and

 Pollina -- and their failures to act complaints by Plaintiff Justyna Zubko-Valva, Tommy Valva was

 caused to suffer years of conscious pain and suffering, resulting in his tragic death on January 17,

 2020. Tommy’s two brothers, Andrew and Anthony, likewise suffered years of abuse, torture and

 starvation as a result of Defendants’ gross negligence, recklessness, falsification of evidence and

 concealment of evidence.



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         275.   Had Defendants acted on any of the evidence and complaints listed above, the

 children would have been removed from Valva’s custody, and Thomas’ tragic, needless, and

 entirely foreseeable death would have been avoided.

         276.   Further, as a result of Defendants’ negligent, reckless and intentional acts of

 misconduct conduct, as set forth above, Plaintiff Justyna Zubko-Valva’s two other minor children,

 Anthony, who was also diagnosed with Autism Spectrum Disorder, and Andrew, were subjected

 to years of extreme physical, emotional and sexual abuse, and were also starved, beaten and

 tortured, and were otherwise caused to suffer severe emotional distress and serious physical

 injuries.

         277.   Had Defendants acted on any of the evidence and complaints listed above, Andrew,

 Tommy and Anthony would have been removed from Valva’s custody, and would not have

 endured the years of suffering and torture that they were forced to endure.

         278.   Based on Defendants’ repeated acts of gross negligence, recklessness, and

 intentional falsification of evidence, as well their repeated failures to act on documentary evidence

 of abuse, Plaintiff herself suffered severe damages. Not only did she lose Tommy forever and the

 custody of her children for several years, but also, she was forced to endure two separate trials in

 order to defend herself against an utterly baseless, and maliciously instituted, Neglect Petition.

         279.   Had Defendants acted on any of the evidence and complaints listed above, the

 children would never have been removed from Plaintiff’s custody in the first instance, Plaintiff

 would not have been subjected to a such baseless and malicious Neglect Petition by the CPS

 Defendants, and Tommy would still be alive.




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                       AS AND FOR A FIRST CAUSE OF ACTION
                      (Deliberate Indifference under 42 U.S.C. §1983)
           (The CPS Defendants, the School Defendants, Defendant Donna McCabe,
                            Ethan Halpern and Randall Ratje)

         280.    Plaintiff JUSTYNA ZUBKO-VALVA repeats, reiterates and realleges each and

 every allegation contained in paragraphs numbered “1” through “279” with the same force and

 effect as if fully set forth herein.

         281.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants, in writing and verbally, about the visible physical injuries on her

 children, including but not limited to, multiple bruises in green, brown, and red color, dark red

 marks, coagulated blood spots, broken blood vessels, caused by Valva's severe and brutal beatings.

         282.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants, in writing and verbally, that her children were coming to school crying

 and hungry, and were literally begging for food at school, eating crumbs off of the floor, eating

 out of garbage cans, and going under the bleachers in the gym to try to find food.

         283.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants about the fact that her children were repeatedly coming to school with

 visible dirt on their bodies, and in urine-soaked clothes.

         284.     For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants that her children had experienced marked and severe weight loss since

 living with their father, with Anthony and Thomas having a BMI of less than one (1) percent.

         285.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants about the fact that her children were coming to school wearing diapers

 -- having bathroom accidents and not being able to control their bowel movements -- despite

 having been fully potty trained since two (2) years of age.
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        286.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants that the children were repeatedly forced to sleep in subfreezing

 temperatures on a cement slab in the garage.

        287.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants about that the children were locked in the garage without any food,

 water, pillows or blankets, and without any access to a bathroom.

        288.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 complained to Defendants her children appeared to have marked and severe loss of muscle tone

 throughout their bodies.

        289.    For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA repeatedly

 implored Defendants to take action and remove the children from the home of Valva and Pollina.

        290.     For a period of over 2 years, Plaintiff JUSTYNA ZUBKO-VALVA provided

 Defendants with overwhelming and irrefutable evidence of abuse, including documentary

 evidence, audio recordings and transcriptions, photographic evidence, and medical evidence.

        291.     Further, Plaintiff JUSTYNA ZUBKO-VALVA provided Defendants with her

 children’s own recorded statements regarding the enormous physical and mental abuse of that they

 were suffering at the hands of Valva and Pollina.

        292.    Plaintiff JUSTYNA ZUBKO-VALVA also specifically warned Defendants,

 verbally and in writing, that her children were in “enormous danger of losing their lives by Michael

 Valva and Angelina Pollina.”

        293.    Notwithstanding Plaintiff JUSTYNA ZUBKO-VALVA’s repeated warnings, and

 the overwhelming evidence of abuse that Plaintiff JUSTYNA ZUBKO-VALVA had provided to

 Defendants as proof that her children were being severely abused by Valva and Pollina, Defendants

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 did absolutely nothing.

        294.    Rather than taking action to protect the children, and report the multiple complaints

 of abuse that had been made – as they were required to do – Defendants hid the truth about the

 children’s health and fabricated false, misleading and dishonest reports about Plaintiff JUSTYNA

 ZUBKO-VALVA and her children.

        295.    Defendants not only refused to remove Plaintiff JUSTYNA ZUBKO-VALVA’s

 children from the custody of Valva and Pollina, but also, suppressed, destroyed and falsified

 evidence, thereby ensuring that Claimant’s children would remain with Valva.

        296.    In so doing, Defendants a deliberate and willful indifference to the health, safety

 and welfare of Plaintiff JUSTYNA ZUBKO-VALVA’’s children.

        297.    As a result of Defendants’ deliberate, intentional and and/or reckless acts of

 misconduct conduct, as set forth above, Plaintiff JUSTYNA ZUBKO-VALVA’s eight-year-old

 son, Tommy, a special needs child on the Autism Spectrum Disorder, died of hypothermia on

 January 17, 2020, after being forced to spend the night in a freezing cold, unheated garage at

 Valva’s home, where temperatures plummeted to 19 degrees Fahrenheit outside.

        298.    As a result of Defendants’ deliberate, intentional and and/or reckless acts of

 misconduct conduct, as set forth above, Plaintiff JUSTYNA ZUBKO-VALVA’’s three young

 children, including Tommy and his two siblings, Anthony and Andrew, were tortured, beaten,

 physically, mentally and sexually abused, and starved at the hands of Valva and Pollina for over

 two years, from September 2017 to January 2020.

        299.    The aforesaid actions by the Defendants constituted a deprivation of Plaintiff’s

 children’s rights, privileges and/or immunities secured by the Constitution and laws of the United

 States of America, and caused the death of Plaintiff’s child Thomas, and caused Plaintiff’s children

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 to suffer abuse, neglect, starvation, beatings, emotional distress, anguish and injury. The aforesaid

 actions by the Defendants further constituted a deprivation of Plaintiff’s rights, privileges and/or

 immunities secured by the Constitution and laws of the United States of America.

                     AS AND FOR A SECOND CLAIM FOR RELIEF
                      (Malicious Prosecution Under 42 U.S.C. § 1983)
                (The CPS Defendants, the School Defendants, Donna McCabe,
                       Ethan Halpern, Randall Ratje, Shana Curti)

        300.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

 paragraphs numbered “1” through “299” with the same force and effect as if fully set forth herein.

        301.    Defendants misrepresented and falsified evidence throughout all phases of the

 matrimonial and family court proceedings (the “Civil Proceedings”), and intentionally misled all

 of the judges involved with these Civil Proceedings, including but not limited to, Justice

 Zimmerman, Justice Lorintz, and Justice Cheng.

        302.     Defendants were directly and actively involved in the initiation of the Neglect

 Petition against Plaintiff JUSTYNA ZUBKO-VALVA.

        303.    Defendants lacked probable cause, or any cause whatsoever, to initiate the Neglect

 Petition against Plaintiff JUSTYNA ZUBKO-VALVA.

        304.    Defendants acted with malice in initiating the Neglect Petition against Plaintiff.

 JUSTYNA ZUBKO-VALVA.

        305.    Defendants were directly and actively involved in the continuation of the Neglect

 Petition against Plaintiff JUSTYNA ZUBKO-VALVA.

        306.    Defendants lacked probable cause, or any cause whatsoever, to continue the

 Neglect Petition against Plaintiff JUSTYNA ZUBKO-VALVA.

        307.    Defendants acted with malice in continuing the Neglect Petition against Plaintiff

 JUSTYNA ZUBKO-VALVA.
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        308.    Defendants misrepresented and falsified evidence throughout all phases of the

 Neglect Petition proceedings against Plaintiff JUSTYNA ZUBKO-VALVA.

        309.     Defendants misrepresented and falsified evidence against Plaintiff JUSTYNA

 ZUBKO-VALVA, hid the truth about the children’s health, and fabricated false, misleading and

 dishonest reports about Plaintiff JUSTYNA ZUBKO-VALVA and her children, throughout all

 phases of the Civil Proceedings.

        310.    As a result of the aforesaid actions by the Defendants, Plaintiff’s children were

 summarily removed from her JUSTYNA ZUBKO-VALVA’s custody without any notice, petition

 or hearing or Due Process, and thereafter, Plaintiff was subjected to an utterly baseless and

 unlawful Neglect Petition, which required her to make multiple court appearances and defend

 herself in two separate trials, spanning a period of 16 months.

        311.    Notwithstanding the false, misleading, dishonest and unlawful conduct of

 Defendants, as described above, on April 12, 2019, Judge Cheng dismissed the Neglect Petition

 against Plaintiff in its entirety, finding that the accusations against Plaintiff were completely

 baseless.

        312.    The aforesaid actions by the Defendants constituted a deprivation of the Plaintiff’s

 children’s rights, privileges and/or immunities secured by the Constitution and laws of the United

 States of America, and caused Plaintiff to be subjected to a completely baseless Neglect Petition,

 and to suffer severe emotional distress, anguish and anxiety.

                      AS AND FOR A THIRD CLAIM FOR RELIEF
    (Fabrication of Evidence/Denial of the Right to a Fair Trial Under 42 U.S.C. § 1983)
   (The CPS Defendants, the School Defendants, Donna McCabe and Shana Curti, Ethan
                               Halpern and Randall Ratje)

        313.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

 paragraphs “1" through “312" as if the same were more fully set forth at length herein.
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        314.      Defendants misrepresented and falsified evidence about Plaintiff, JUSTYNA

 ZUBKO-VALVA, hid the truth about the children’s health, and fabricated false, misleading and

 dishonest reports about Plaintiff JUSTYNA ZUBKO-VALVA and her children.

        315.     Defendants forwarded this false evidence to the Suffolk County Department of

 Social Services, and also presented this false evidence to multiple judges throughout the Civil

 Proceedings, including Judge Zimmerman, Judge Lorintz and Judge Cheng.

        316.     As a result of the aforesaid unlawful actions by the Defendants, Plaintiff’s children

 were summarily removed from Plaintiff’s JUSTYNA ZUBKO-VALVA’s custody without any

 notice, petition, hearing or Due Process, and Plaintiff thereafter was subjected to an utterly baseless

 and unlawful Neglect Petition, which required her to make multiple mandatory court appearances

 in order to defend herself in two separate neglect trials, spanning a period of 16 months. Further,

 as a result of Defendants’ unlawful actions, Plaintiff JUSTYNA ZUBKO-VALVA was deprived

 of the lawful custody and visitation of her children for over two years.

        317.      In creating false evidence against Plaintiff JUSTYNA ZUBKO-VALVA, and in

 forwarding false evidence to the Suffolk County Department of Social Services and/or presenting

 such false evidence to multiple judges throughout the Civil Proceedings, including Judge

 Zimmerman, Judge Lorintz and Judge Cheng, and in giving false and misleading testimony

 throughout the Civil Proceedings, Defendants violated Plaintiff’s constitutional right to a fair trial

 under the Due Process Clause of the Fifth and Fourteenth Amendments of the United States

 Constitution.

        318.     As a result of the foregoing, Defendants violated Plaintiff JUSTYNA ZUBKO-

 VALVA’s federal rights, privileges and/or immunities as secured by the Constitution and laws of




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 the United States of America, and caused Plaintiff to suffer severe emotional distress, anguish and

 anxiety.

                       AS AND FOR A FOURTH CLAIM FOR RELIEF
                      (Malicious Abuse of Process Under 42 U.S.C. § 1983)
                  (The CPS Defendants, the School Defendants, Donna McCabe,
                         Ethan Halpern, Randall Ratje, Shana Curti)

         319.    Plaintiff JUSTYNA ZUBKO-VALVA repeats, reiterates and realleges each and

 every allegation contained in paragraphs numbered “1" through “318" with the same force and

 effect as if fully set forth herein.

         320.    The aforementioned individual Defendants issued legal process to remove

 Plaintiff’s children from her custody, and subject JUSTYNA ZUBKO-VALVA Plaintiff to an

 unlawful and utterly baseless Neglect Petition that was intended to permanently deprive Plaintiff

 of her parental rights over her children.

         321.    The aforementioned individual Defendants undertook these actions in order to

 obtain a collateral objective outside the legitimate ends of the legal process. Specifically,

 Defendants acted in this manner in order to effectuate Valva and Curti’s unlawful plan -- as set

 forth in Curti’s letter to United Mortgage dated July 7, 2017 -- to permanently remove the children

 from Plaintiff’s custody, and to ensure that Valva had sole custody of the children and marital

 residence.

         322.    Further, the CPS Defendants also engaged in this plan to curry favor with the local

 police departments by protecting the rights and interests of “one of their own,” Valva, who had

 been a police officer with the NYPD for 15 years, and to protect their own professional reputations

 for having failed to take any action to protect the health, safety and welfare of the Valva children.

         323.    The aforementioned individual defendants acted with intent to do harm to Plaintiff

 JUSTYNA ZUBKO-VALVA, without excuse or justification.
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        324.    As a result of the foregoing, Plaintiff JUSTYNA ZUBKO-VALVA sustained, inter

 alia, mental anguish, shock, fright, apprehension, embarrassment, humiliation, and deprivation of

 her constitutional rights, and caused Plaintiff to suffer severe emotional distress, anguish and

 anxiety.

                       AS AND FOR A FIFTH CLAIM FOR RELIEF
                        (“Stigma Plus” Claim Under 42 U.S.C. § 1983)
                 (The CPS Defendants, the School Defendants, Donna McCabe,
                              Ethan Halpern and Shana Curti)

        325.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

 paragraphs “1” through “324” as if the same were more fully set forth at length herein.

        326.       Defendants misrepresented and falsified evidence Plaintiff JUSTYNA ZUBKO-

 VALVA, hid the truth about the children’s health, and fabricated false, misleading and dishonest

 reports about Plaintiff JUSTYNA ZUBKO-VALVA and her children, and published these false

 claims to various third parties, including but not limited to the Suffolk County Department of

 Social Services, Judge Zimmerman, Judge Lorintz and Judge Cheng, and to other third parties

 involved in the matrimonial and family court proceedings.

        327.    The false information that Defendants provided to third parties about Plaintiff

 JUSTYNA ZUBKO-VALVA constituted defamation per se, and resulted in a loss of Plaintiff’s

 constitutional rights, the destruction of her parental rights and/or the loss of various other tangible

 government-created rights that she otherwise would not have loss.

        328.    The false allegations against Plaintiff JUSTYNA ZUBKO-VALVA were

 sufficiently derogatory to injure her reputation.

        329.    As a result of defendants’ statements to third parties, Plaintiff’s JUSTYNA

 ZUBKO-VALVA reputation was severely and permanently damaged.



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         330.    To this day, Plaintiff JUSTYNA ZUBKO-VALVA is questioned as to why she lost

 custody of the children, and it is presumed by the public at large that Plaintiff must have been a

 “bad mother,” or done something else wrong, to have had her children taken away by the court

 system in the first place.

         331.    As a result of Defendants’ materially false, misleading and dishonest statements to

 third parties, Plaintiff JUSTYNA ZUBKO-VALVA was deprived of her fundamental

 constitutional rights, lost custody of her children, was barred from seeing her children, had her

 parental rights altered, was publicly embarrassed and humiliated, was caused to suffer severe

 emotional distress, was forced to incur substantial expenses, and had her personal and professional

 reputation destroyed.

                          AS AND FOR A SIXTH CLAIM FOR RELIEF
                         (Violation of Due Process Under 42 U.S.C. § 1983)
                                   (Hope Schwartz Zimmerman)

         332.    Plaintiff JUSTYNA ZUBKO-VALVA repeats, reiterates and realleges each and

 every allegation contained in paragraphs “1" through “331" as if the same were more fully set forth

 at length herein.

         333.    As a result of Defendant Hope Schwartz Zimmerman’s unlawful Order on

 September 6, 2017, Plaintiff JUSTYNA ZUBKO-VALVA lost custody of her children. Plaintiff

 would never regain custody of Tommy prior to his death on January 20, 2017, and would not

 regain custody of her two other children, Andrew and Anthony, until this date as well.

         334.    Judge Zimmerman’s Order was a flagrant violation of Plaintiff’s constitutional

 rights under Due the Process. Specifically, Plaintiff, who was acting pro se throughout the Civil

 Proceedings and had no legal training whatsoever, was denied each and every one of the

 fundamental constitutional rights and safeguards that the Due Process Clause was intended to

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 protect, including but not limited to: i) notice; ii) an opportunity to be heard; iii) an opportunity to

 cross-examine adverse witnesses; iv) an opportunity to present material and exculpatory

 information; and v) notice of the right to appeal an adverse decision.

        335.      Judge Hope Schwartz Zimmerman further violated Plaintiff’s constitutional rights

 by issuing a Full Stay Away Temporary Order of Protection on September 6, 2017, thereby

 preventing Plaintiff from having any contact with her children. Judge Zimmerman made this

 decision without any due process and without any evidence whatsoever.



        336.       The effect of Judge Zimmerman’s unlawful Order was to immediately take away

 Plaintiff’s children, who had been under her care since they were born, and to deprive her of any

 contact with her children. For 6 months, this Order prohibited Plaintiff from contacting her

 children and their special educational placements that they had attend for a couple of years.

        337.     Judge Zimmerman’s actions were unlawful and unconstitutional in every possible

 respect. Judge Zimmerman lacked jurisdiction to summarily deprive Plaintiff of the custody of

 her children. Her order was a grave miscarriage of justice, and it set in motion the chain of events

 that led to Tommy’s death, and to all three children being abused, starved, beaten and neglected

 for two years by Valva and Pollina.

        338.     Based on the foregoing, Plaintiff JUSTYNA ZUBKO-VALVA seeks a Declaration

 from this Court that Judge Zimmerman violated Plaintiff’s constitutional rights to Due Process

 when she issued an Order on September 6, 2017 -- without notice, without a petition, without a

 hearing, without an opportunity to be present evidence, without an opportunity to cross-examine

 adverse witnesses, and without notifying Plaintiff of her right to appeal -- that fully deprived




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 Plaintiff of the custody of her children and barred Plaintiff from seeing or having any contact with

 her children.5

                     AS AND FOR A SEVENTH CLAIM FOR RELIEF
             (Conspiracy to Violate Plaintiffs’ Civil Rights Under 42 U.S.C. § 1983)
           (The CPS Defendants, the School Defendants, Donna McCabe, Shana Curti,
                              Ethan Halpern and Randall Ratje)

          339.       Plaintiff JUSTYNA ZUBKO-VALVA repeats, reiterates and realleges each and

 every allegation contained in paragraphs “1” through “338” as if the same were more fully set forth

 at length herein.

          340.     Defendants conspired and acted in concert to do whatever was necessary, lawful or

 not, to deprive Plaintiff JUSTYNA ZUBKO-VALVA of her lawful parental rights and custodial

 rights over her children.

          341.     Throughout the period of the conspiracy, Defendants pursued their objectives with

 actual malice toward plaintiff, with utter and deliberate indifference to and disregard for Plaintiff’s

 rights under the Constitution and laws of the United States, without probable or reasonable cause

 to believe plaintiff guilty of any crime.

          342.     Pursuant to the conspiracy, the conspirators, and their employees, agents and

 servants, intentionally, recklessly, negligently, and/or with complete indifference to the rights of

 plaintiff: (a) manufactured false evidence; (b) pressured, intimidated, threatened, coerced and

 induced the Valva children to give untruthful, erroneous, incomplete and/or misleading statements

 and testimony; (c) failed to correct such false statements and testimony; and (d) withheld from the

 courts and/or the Suffolk County Department of Social Services, evidence favorable to Plaintiff



 5 Since the Complaint in this action seeks declaratory relief against Judge Zimmerman, Plaintiff’s claims against
 Judge Zimmerman are not barred by the doctrine of judicial immunity. See Rolle v. Girardi, 689 Fed. Appx. 65 (2d
 Cir. 2017) (“Because Rolle sought only injunctive and declaratory relief, the district court erred in dismissing on the
 basis of judicial immunity.”), citing Pulliam v.Allen, 466 U.S. 522, 541-43 (1984).
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 on the issue of her innocence in the Neglect Proceedings.

        343.    The aforesaid conduct of Defendants operated to deprive Plaintiff JUSTYNA

 ZUBKO-VALVA of important and well-established rights under the Constitution and the laws of

 the United States including, but not limited to, her rights:

        (a)     Not to be deprived of her parental rights, parental rights, parental custody
                without Due Process of Law under the Fifth and Fourteenth Amendments
                to the United States Constitution;

        (b)     Not to be subjected to an unlawful and unconstitutional Order, on
                September 6, 2017, that took away her children and granted temporary
                custody of the children to Valva, without any notice, without any formal
                court-filed accusation of wrongdoing against Plaintiff, without any Family
                Offense Petition filed against Plaintiff, without any hearing whatsoever and
                without any supporting evidence against Plaintiff;

        (c)     Not to be subjected to a completely fictional temporary Full Stay Away
                Order of Protection against Plaintiff that was not recorded in the Court’s
                minutes, the Department of Justice Registry or the Police Registry;

        (d)     Not to be deprived of her liberty, in the form of making mandatory court
                appearances to defend herself against the baseless Neglect Petition, based
                upon evidence fabricated by a government official; and

        (e)     Not to be deprived of her right to the timely disclosure of all evidence
                favorable to the defense on the issues of culpable conduct and/or criminal
                liability, pursuant to the due process clauses of the Fifth and Fourteenth
                Amendments to the United States Constitution, and to Brady v. Maryland,
                373 U.S. 83 (1963), and its progeny.

        344.    As a result of the foregoing, Plaintiff JUSTYNA ZUBKO-VALVA was deprived

 of her parental rights, was deprived of custody of her children, was deprived of her right to freely

 see and visit her children, was denied her liberty, was denied fundamental constitutional rights,

 was publicly embarrassed and humiliated, was caused to suffer severe emotional distress, and

 anxiety.




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                      AS AND FOR AN EIGHTH CLAIM FOR RELIEF
                                  MUNICIPAL LIABILITY
                     (Suffolk County and the CPS Supervisory Defendants)

        345.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

 paragraphs “1" through “344" as if the same were more fully set forth at length herein.

        346.    Defendants knew about the grave risk of harm faced by children who are abused

 physically, mentally, and/or sexually by their parents and/or other adults, and on whose behalf

 complaints with CPS have been filed.

        347.    Notwithstanding this knowledge, Defendants failed to properly train their CPS

 workers how to properly detect signs and symptoms of physical, emotional, and sexual abuse of

 the children that they were supposed to safeguard, especially with respect to autistic children.

        348.    Defendants also failed to properly train their CPS workers how to asses when

 children are making false claims of abuse and/or false denials of abuse.

        349.    Defendants also failed to properly train their CPS workers on the full scope of their

 duties toward children, including but not limited to: i) the duty to make a full and complete

 disclosure to the Court of all evidence showing abuse; ii) the duty to avoid concealing and/or

 misrepresenting the truth about the evidence of abuse; iii) the duty to avoid giving preferential

 treatment toward one litigant over the others.

        350.    Apart from the foregoing violations, Defendants further failed to implement rules,

 regulations, policies, procedures and/or guidelines as to how to properly assess children who are

 on the Autism spectrum, including but not limited to, how to properly:

                a)      interview autistic children who may be the victim of abuse;

                b)      verify the claims of autistic children who may be the victim of abuse;

                c)      assess the veracity of autistic children who deny that they have been abused;

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                      d)     determine whether or not a CPS case should be closed out; and

                      e)     determine whether or not a CPS case should be investigated further.

        351.          Further, Defendants failed to implement rules, regulations, policies, procedures

 and/or guidelines as to how to take into account allegations of abuse that are made in the context

 of a matrimonial and/or family court dispute between the parents, including but not limited to, how

 to properly:

                  i.         determine whether a false claim of abuse has been made by one parent or
                             custodian of the children to gain a tactical advantage over the other parent
                             or custodian;

                ii.          determine whether or not a false claim of abuse has been influenced by on
                             ongoing matrimonial dispute;

                iii.         determine whether or not a false claim of abuse has been influenced by on
                             ongoing custody dispute;

                iv.          determine whether or not a CPS complaint should be closed out;

                 v.          determine whether or not a CPS should be investigated further; and

                vi.          determine whether or not a CPS Neglect Petition should be filed.

        352.          In failing to properly train CPS employees, and in failing to implement necessary

 and proper rules, regulations, guidelines and procedures, as set forth above, Defendants exhibited

 a deliberate indifference to the health, safety and welfare of all abuse children who come under the

 supervision of Suffolk County Child Protective Services, including but not limited to, the Plaintiff

 and her three children.

        353.          The acts complained of were carried out by the aforementioned individual

 defendants in their capacities as CPS officials and/or employees of defendant COUNTY OF

 SUFFOLK, with all the actual and/or apparent authority attendant thereto.

        354.          The acts complained of were carried out by the aforementioned individual

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 defendants in their capacities as defendant CPS officials and/or employees of the COUNTY OF

 SUFFOLK pursuant to the customs, policies, usages, practices, procedures, and rules of defendants

 COUNTY OF SUFFOLK, all under the supervision of ranking officers of said departments.

        355.    The aforementioned customs, policies, usages, practices, procedures and rules of

 the defendants COUNTY OF SUFFOLK, include, but are not limited to, the unconstitutional

 practices identified above.

        356.    The foregoing customs, policies, usages, practices, procedures and rules of

 defendant COUNTY OF SUFFOLK constituted a deliberate indifference to the safety, well-being

 and constitutional rights of Plaintiff and her three children.

        357.    The foregoing customs, policies, usages, practices, procedures and rules of

 defendant COUNTY OF SUFFOLK were the direct and proximate cause of the constitutional

 violations suffered by Plaintiff and her three children, as alleged herein.

        358.    The foregoing customs, policies, usages, practices, procedures and rules of

 defendant COUNTY OF SUFFOLK were the moving force behind the constitutional violations

 suffered by Plaintiff and her three children, as alleged herein.

        359.    As a result of the foregoing customs, policies, usages, practices, procedures and

 rules of defendants COUNTY OF SUFFOLK plaintiff’s children were physically and mentally

 abused, were sexually assaulted, starved, beaten and tortured, and suffered severe emotional

 distress, and Plaintiff was subjected to an utterly baseless and unlawful Neglect Petition, and was

 deprived of the custody of her children without any lawful basis.

        360.    Defendants, collectively and individually, while acting under color of state law,

 were directly and actively involved in violating the constitutional rights of Plaintiff and her three

 children.

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         361.    Defendants, collectively and individually, while acting under color of state law,

 acquiesced in a pattern of unconstitutional conduct by subordinate municipal officials and/or

 employees, and were directly responsible for the violation of the constitutional rights of Plaintiff

 and her three children.

         362.    All of the foregoing acts by defendants deprived Plaintiff and/or her three children

 herein of their federally protected rights, including, but not limited to, the right:

         A.      Not to have parental rights terminated, suspended and/or abridged without Due
                 Process of law;

         B.      Not to have children removed from the custody of their biological parents without
                 Due Process of law;

         C.      Not to impose a Full Stay Away Order of Protection without Due Process of law;

         D.      Not be subjected to excessive force;

         E.      Not to have cruel and unusual punishment imposed upon them; and

         F.      To receive equal protection under the law.

                         AS AND FOR A NINTH CLAIM FOR RELIEF
                                  MUNICIPAL LIABILITY
                (The School District, Defendant Russo and Defendant Schneyer)

         363.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

 paragraphs “1" through “362" as if the same were more fully set forth at length herein.

         364.    Defendants knew about the grave risk of harm faced by children who are abused

 physically, mentally, and/or sexually by their parents and/or other adults.

         365.    Notwithstanding this knowledge, Defendants failed to properly train the School

 District employees on how to properly detect signs and symptoms of physical, emotional, and

 sexual abuse of the children that they were supposed to safeguard, especially with respect to

 autistic children.


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        366.    Defendants also failed to properly train their School District employees how to

 asses when children are making false claims of abuse and/or false denials of abuse.

        367.    Defendants also failed to properly train their School District employees on the full

 scope of their duties toward children, including but not limited to: i) their duties as mandatory

 reporters to make a full and complete disclosure to CPS of any abuse of children which they know

 about or have reason to suspect; ii) the duty to make a full and complete disclosure to law

 enforcement authorities when CPS complaints have not stopped the abuse; iii) the duty to avoid

 concealing and/or misrepresenting the truth about the evidence of abuse; and iv) the duty to avoid

 giving preferential treatment toward one parent over the other in assessing whether or not there is

 evidence of abuse.

        368.    Apart from the foregoing violations, Defendants further failed to implement rules,

 regulations, policies, procedures and/or guidelines as to how to properly assess children who are

 on the Autism spectrum, including but not limited to, how to properly:

                a)     interview autistic children who may be the victim of abuse;

                b)     verify the claims of autistic children who may be the victim of abuse;

                c)     assess the credibility of autistic children who deny that they have been

                       abused; and

                d)     determine whether or not law enforcement should be contacted.

        369.     Further, Defendants failed to implement rules, regulations, policies, procedures

 and/or guidelines as to how to take into account allegations of abuse that are made in the context

 of a matrimonial and/or family court dispute between the parents, including but not limited to, how

 to properly:

                a)     determine whether a false claim of abuse has been made by one parent to
                       gain a tactical advantage over the other parent;
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                 b)      determine whether or not a false claim of abuse has been influenced by on
                         ongoing matrimonial dispute; and

                 c)      determine whether or not a false claim of abuse has been influenced by on
                         ongoing custody dispute.

         370.    In failing to properly train School District employees, and in failing to implement

 necessary and proper rules, regulations, guidelines and procedures, as set forth above, Defendants

 exhibited a deliberate indifference to the health, safety and welfare of all abused children who are

 under the supervision of the School District.

         371.    The acts complained of were carried out by the aforementioned individual

 defendants in their capacities as School District officials and/or policy makers for the defendant

 School District, with all the actual and/or apparent authority attendant thereto.

         372.    The acts complained of were carried out by the aforementioned individual

 defendants in their capacities as defendant School District officials, pursuant to the customs,

 policies, usages, practices, procedures, and rules of the School District, all under the supervision

 of ranking officers of said School District.

         373.    The aforementioned customs, policies, usages, practices, procedures and rules of

 the defendant School District, include, but are not limited to, the unconstitutional practices

 identified above.

         374.    The foregoing customs, policies, usages, practices, procedures and rules of

 defendant SCHOOL DISTRICT constituted a deliberate indifference to the safety, well-being and

 constitutional rights of plaintiffs.

         375.    The foregoing customs, policies, usages, practices, procedures and rules of

 defendant SCHOOL DISTRICT were the direct and proximate cause of the constitutional

 violations suffered by Plaintiffs as alleged herein.
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         376.    The foregoing customs, policies, usages, practices, procedures and rules of

 defendant SCHOOL DISTRICT were the moving force behind the constitutional violations

 suffered by Plaintiffs as alleged herein.

         377.    As a result of the foregoing customs, policies, usages, practices, procedures and

 rules of defendant SCHOOL DISTRICT, Plaintiff’s children were physically and mentally abused,

 were sexually assaulted, starved, beaten and tortured, and suffered severe emotional injuries, and

 Plaintiff was deprived of the right to see her children.

         378.    Defendants, collectively and individually, while acting under color of state law,

 were directly and actively involved in violating the constitutional rights of Plaintiffs.

         379.    Defendants, collectively and individually, while acting under color of state law,

 acquiesced in a pattern of unconstitutional conduct by subordinate municipal officials and/or

 employees, and were directly responsible for the violation of Plaintiffs’ constitutional rights.

         380.    All of the foregoing acts by defendants deprived Plaintiffs herein of their federally

 protected rights, including, but not limited to, the right:

         A.      Not to have parental rights terminated, suspended and/or abridged without Due
                 Process of law;

         B.      Not to have children removed from the custody of their biological parents without
                 Due Process of law;

         C.      Not to impose a Full Stay Away Order of Protection without Due Process of law;

         D.      Not to be deprived of the Equal Protection of the law;

         E.      Not be subjected to excessive force;

         F.      Not to have cruel and unusual punishment imposed upon them; and

         G.      To receive Equal Protection under the law.




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                         THE CLAIMS UNDER NEW YORK STATE LAW

         381.      Plaintiff JUSTYNA ZUBKO-VALVA has complied with all the conditions

 precedent of the bringing of this action, and has complied with all provisions of the Charter of the

 County of Suffolk, and/or the procedural requirements of the East Moriches Union Free School

 District, and Plaintiff has, prior to the bringing of this action and within ninety days after the

 injuries hereinafter described were received, duly served notice upon the County of Suffolk and

 the East Moriches Union Free School District of her intention to sue upon the claims set forth

 therein. More than thirty days have elapsed since the presentation of said Notice of Claims, and

 that the said claims have remained unadjusted and the said respondents have failed and/or refused

 to make any adjustment thereof. A hearing pursuant to Municipal Law §50-H will be held at

 mutually convenient time and place, subject to a request made by the Defendants. The instant

 action is being filed within one year and ninety days of the date in which Plaintiffs’ state law

 municipal claims have accrued.

                           AS AND FOR A TENTH CLAIM FOR RELIEF
                           (Under New York State Law: Wrongful Death)

 (Suffolk County, the CPS Defendants, the East Moriches School District, the School
 Defendants, McCabe, Curti, Halpern, Ratje, Valva and Pollina)

         382.       Plaintiff JUSTYNA ZUBKO-VALVA, as Mother and Natural Guardian of

 Thomas, and as the Administratrix of his Estate,6 realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

         383.      The negligent acts and omissions of the governmental Defendants, including but

 not limited to, Suffolk County, the CPS Defendants, East Moriches School District and the School


 6 Plaintiff has retained a probate attorney, Joseph Ledgwick, Esq.,who is in the process of having her formally
 appointed as an Administratrix of Thomas’ estate. The Petition has been filed in the Suffolk County Surrogate’s
 Court. (Ex. E).

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 Defendants (collectively, “Municipal Defendants”),               as well as the wrongful acts of McCabe,

 Curti, Halpern, Ratje, Valva and Pollina, directly led to the tragic death of plaintiff Thomas Valva.

         384.      As a direct and proximate result of the Municipal Defendants’ negligent acts and

 omissions, Plaintiff Thomas Valva sustained loss of earnings and other pecuniary damages that

 are now recoverable by his estate under New York Law.7 As a consequence, Thomas’ distributees

 have suffered damages in an amount to be determined at trial.



                       AS AND FOR A ELEVENTH CLAIM FOR RELIEF
                     (Under New York State Law: Conscious Pain & Suffering)

 (Suffolk County, the CPS Defendants, the East Moriches School District, the School
 Defendants, McCabe, Curti, Halpern, Ratje, Valva and Pollina)

         385.      Plaintiff JUSTYNA ZUBKO-VALVA, as mother and natural guardian of Thomas,

 and as putative Administratrix of his Estate, realleges and incorporates by reference the allegations

 set forth in the foregoing paragraphs as if fully set forth herein.

         386.     The negligent acts and omissions of the governmental Defendants, including but

 not limited to, Suffolk County, the CPS Defendants, East Moriches School District and the School

 Defendants, as well as the wrongful acts of McCabe, Curti, Halpern, Ratje, Valva and Pollina,

 directly led to the tragic death of plaintiff Thomas Valva.

         387.     The acts of the aforesaid Defendants, as alleged herein, wrongfully caused and

 permitted Tommy to suffer physical, mental, and emotional pain, for many hours prior to, and

 continuing until his death on the morning of January 17, 2020.




 7 In connection with Thomas’s death, Plaintiff also seeks to recover all categories of compensatory damages that are
 under 42 U.S.C.§ 1983 for wrongful death, including damages for the death itself, pain and suffering, and loss of
 consortium. See Banks v. Yokemick, 177 F. Supp. 2d 239 (S.D.N.Y. 2001).

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        388.    As a direct and proximate result of this tortious conduct, Plaintiff Thomas Valva

 sustained substantial conscious pain and suffering up until the moment of his death.

        389.    As a direct and proximate result of Defendants’ negligent, reckless and/or

 intentional acts, as set forth above, Tommy’s distributees have suffered damages in an amount to

 be determined at trial.

                     AS AND FOR A TWELFTH CLAIM FOR RELIEF
                   (Under New York State Law: Assault) (Valva and Pollina)

        390.    Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        391.    Defendants Valva and Pollina, without just cause, and without any legal

 justification whatsoever, willfully, maliciously, and callously threatened to use physical force

 against Tommy, causing him to fear imminent bodily harm and ultimately causing his death.

        392.    Defendants committed the foregoing acts knowingly intentionally, willfully, and

 with a callous disregard for Tommy’s health, safety and welfare, and are therefore liable for

 punitive damages for their gross misconduct.

                    AS AND FOR A THIRTEENTH CLAIM FOR RELIEF
                   (Under New York State Law: Battery) (Valva and Pollina)

        393.    Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        394.    Defendants Valva and Pollina, without just cause, and without any legal

 justification whatsoever, willfully and maliciously used physical force against Tommy, causing

 him to suffer severe harmful, offensive bodily contact, and great pain and suffering.

        395.    There was no excuse or justification for Defendants’ unlawful use of force against

 a small, defenseless 8-year-old child, much less one who was on the Autism spectrum.

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        396.    Defendants committed the foregoing acts knowingly intentionally, willfully, and

 with a callous disregard for Tommy’s health, safety and welfare, and are therefore liable for

 punitive damages for their gross misconduct.

                      AS AND FOR A FOURTEENTH CLAIM FOR RELIEF
               (Under N.Y. State Law: Intentional Infliction of Emotional Distress)
        (Valva, Pollina, McCabe, Curti, Halpern, Ratje and the Municipal Defendants)

        397.     Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        398.     The Municipal Defendants, as well as McCabe, Curti, Ratje, Halpern, Valva and

 Pollina, engaged in extreme and outrageous conduct, which exceeded all reasonable bounds of

 decency.

        399.    The aforementioned conduct was committed by the Municipal Defendants while

 acting within the scope of their employment by defendant THE COUNTY OF SUFFOLK and/or

 the EAST MORICHES SCHOOL DISTRICT.

        400.    The aforementioned conduct was committed by the Municipal Defendants while

 acting in furtherance of their employment by defendant THE COUNTY OF SUFFOLK and/or the

 EAST MORICHES SCHOOL DISTRICT.

        401.    The aforementioned conduct was intentional and done for the sole purpose of

 causing severe emotional distress to Plaintiff JUSTYNA ZUBKO-VALVA, and to her three

 children, Thomas, Anthony and Andrew.

        402.    As a result of the aforementioned conduct, Plaintiff JUSTYNA ZUBKO-VALVA

 and her three children suffered severe emotional distress, physical and mental injuries, together

 with tremendous shock and fright.




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                  AS AND FOR A FIFTEENTH CLAIM FOR RELIEF
                           (Under N.Y. State Law: Defamation)
       (The Municipal Defendants, McCabe, Curti, Ratje, Halpern, Valva and Pollina)

         403.      Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

         404.      The Municipal Defendants, as well as McCabe, Curti, Ratje, Halpern Valva and

 Pollina misrepresented and falsified evidence Plaintiff JUSTYNA ZUBKO-VALVA, hid the truth

 about the children’s health, and fabricated false, misleading and dishonest reports about Plaintiff

 JUSTYNA ZUBKO-VALVA and her children, and published these false claims to various third

 parties, including but not limited to the Suffolk County Department of Social Services, Judge

 Zimmerman, Judge Lorintz and Judge Cheng, and to other third parties involved in the matrimonial

 and family court proceedings.

         405.      The false information that Defendants provided to third parties about Plaintiff

 JUSTYNA ZUBKO-VALVA -- to wit, her unfitness as mother, her alleged abuse of her children

 and her “mental illness” -- constituted defamation per se, were sufficiently derogatory to injure

 her reputation.

         406.       As a result of the aforementioned Defendants’ statements to third parties,

 Plaintiff’s JUSTYNA ZUBKO-VALVA reputation was severely and permanently damaged.

         407.      To this day, Plaintiff JUSTYNA ZUBKO-VALVA is still questioned as to why she

 lost custody of the children, and it is presumed by the public at large that Plaintiff must have been

 a “bad mother,” or done something else wrong, to have had her children taken away by the court

 system in the first place.

         408.      Defendants acted with malice in making false and misleading statements about

 Plaintiff JUSTYNA ZUBKO-VALVA.

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        409.    Defendants acted with a reckless disregard for the truth in making false and

 misleading statements about Plaintiff JUSTYNA ZUBKO-VALVA.

        410.    Defendants made such statements without privilege or authorization from Plaintiff

 JUSTYNA ZUBKO-VALVA.

        411.    As a result of Defendants’ malicious lies, Plaintiff has suffered, and will continue

 to suffer, irreparable harm to her personal and professional reputation and has been subjected to

 public ridicule.



                  AS AND FOR A SIXTEENTH CLAIM FOR RELIEF
     (Under N.Y. State Law: Negligent Hiring/Training/Supervision/Retention – Suffolk
                                         County)

        412.        Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        413.    Defendant THE COUNTY OF SUFFOLK owed a duty to the public at large,

 including but not limited to Plaintiff herein, to exercise reasonable care in the selection, hiring and

 retention of all of its employees, and in particular, those employees with the job responsibility of

 dealing with the public at large.

        414.    Defendant THE COUNTY OF SUFFOLK failed to use reasonable care when it

 hired the CPS Defendants.

        415.    Defendant THE COUNTY OF SUFFOLK failed to make reasonable inquiries into

 the background of the CPS Defendants, and failed to train them properly with respect to how to:

 i) properly detect child abuse; ii) properly detect signs of starvation; iii) properly detect signs of

 abuse; and iv) taking remedial action to protect children from being abused, neglected, starved or

 tortured.

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         416.    Had defendant THE COUNTY OF SUFFOLK used reasonable care in inquiring

 into the background of the CPS Defendants, it would have learned that they were patently

 unqualified to serve as CPS workers for Suffolk County.

         417.    Had defendant THE COUNTY OF SUFFOLK used reasonable care in training its

 CPS workers, particularly with respect to autistic children, Plaintiff’s children would have been

 promptly removed from the custody of Valva and Pollina, and Tommy would be still alive, and

 the other two boys would not have been abused, beaten, tortured and starved for over two years.

         418.    As a result of the foregoing, defendant THE COUNTY OF SUFFOLK breached its

 duty to use reasonable care in the selection and hiring, and training, of all of its employees.

         419.    As a result of defendant THE COUNTY OF SUFFOLK’s negligence in hiring and

 training of the CPS defendants, Plaintiff Thomas Valva was beaten, starved, abused, tortured and

 caused to die on January 17, 2020.

         420.    As a result of defendant THE COUNTY OF SUFFOLK’s negligence in hiring the

 CPS defendants, Plaintiffs other two children, Anthony and Andrew, were beaten, starved, abused

 and tortured for over two years.

                 AS AND FOR A SEVENTEENTH CLAIM FOR RELIEF
       (Under N.Y. State Law: Negligent Hiring/Training/Supervision/Retention – The
                                     School District)

         421.    Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

  allegations set forth in the foregoing paragraphs as if fully set forth herein.

         422.    Defendant THE SCHOOL DISTRICT owed a duty to the public at large, including

 but not limited to Plaintiff herein, to exercise reasonable care in the selection, hiring and retention

 of all of its employees, and in particular, those employees with the job responsibility of dealing

 with the public at large.

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        423.    Defendant THE SCHOOL DISTRICT failed to use reasonable care when it hired

 the School Defendants.

        424.    Defendant THE SCHOOL DISTRICT failed to make reasonable inquiries into the

 background of the School Defendants, and failed to train them properly with respect to how to: i)

 properly detect child abuse; ii) properly detect signs of starvation; iii) properly detect signs of

 abuse; and iv) taking remedial action to protect children from being abused, neglected, starved or

 tortured.

        425.    Had defendant THE SCHOOL DISTRICT used reasonable care in inquiring into

 the background of the School Defendants, it would have learned that they were patently

 unqualified to serve as school workers for the School District.

        426.    Had defendant THE SCHOOL DISTRICT used reasonable care in training its

 school workers, particularly with respect to autistic children, Plaintiff’s children would have been

 promptly removed from the custody of Valva and Pollina, and Tommy would be still alive, and

 the other two boys would not have been abused, beaten, tortured and starved for over two years.

        427.    As a result of the foregoing, defendant THE SCHOOL DISTRICT breached its duty

 to use reasonable care in the selection and hiring, and training, of all of its employees.

        428.    As a result of THE SCHOOL DISTRICT’S negligence in hiring and training of the

 CPS defendants, Plaintiff Thomas Valva was beaten, starved, abused, tortured and caused to die

 on January 17, 2020.

        429.    As a result of THE SCHOOL DISTRICT’S negligence in hiring the School

 Defendants, Plaintiffs other two children, Anthony and Andrew, were beaten, starved, abused and

 tortured for over two years.




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                      AS AND FOR A EIGHTEENTH CLAIM FOR RELIEF
                       (Under N.Y. State Law: Negligence – Suffolk County)

        430.     Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        431.    Defendant THE COUNTY OF SUFFOLK, owed a duty of care to Plaintiff’s

 children to protect them from physical and mental abuse, torture and starvation at the hands of

 Valva and Pollina.

        432.    Defendant THE COUNTY OF SUFFOLK, through the affirmative actions and

 words of the CPS Defendants, undertook a special duty to protect Plaintiff’s children from harm

 and keep them safe from Valva and Pollina’s abuse.

        433.    Defendant THE COUNTY OF SUFFOLK, through the affirmative actions and

 words of the CPS Defendants, assured Plaintiff that they would keep Plaintiff’s children safe from

 harm and protect them from Valva and Pollina’s abuse.

        434.    Plaintiff JUSTYNA ZUBKO VALVA relied upon the promises of THE COUNTY

 OF SUFFOLK, as expressed the through words and actions of the CPS Defendants, to protect her

 children from physical and mental abuse, torture and starvation at the hands of Valva and Pollina.

        435.    Defendant THE COUNTY OF SUFFOLK breached the duty of cared that it owed

 to Plaintiff and her children, and allowed her children to be physically and mentally abused,

 tortured and starved by Valva and Pollina for several years.

        436.    As a direct and proximate result of defendant THE COUNTY OF SUFFOLK’s

 negligence, Plaintiff Thomas Valva was beaten, starved, abused, tortured and caused to die on

 January 17, 2020.




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        437.    As a direct and proximate result of defendant THE COUNTY OF SUFFOLK’s

 negligence, Plaintiff’s other two children, Anthony and Andrew, were beaten, starved, abused and

 tortured for several years.

                 AS AND FOR A EIGHTTEENTH CLAIM FOR RELIEF
     (Under N.Y. State Law: Negligence – the School District and the School Defendants)

        438.     Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        439.    THE SCHOOL DISTRICT owed a duty of care to Plaintiff’s children to protect

 them from physical and mental abuse, torture and starvation at the hands of Valva and Pollina.

        440.    THE SCHOOL DISTRICT, through the affirmative actions and words of the

 School Defendants, undertook a special duty to protect Plaintiff’s children from harm and keep

 them safe from Valva and Pollina’s abuse.

        441.    THE SCHOOL DISTRICT, through the affirmative actions and words of the

 School Defendants, assured Plaintiff that they would keep Plaintiff’s children safe from harm and

 protect them from Valva and Pollina’s abuse.

        442.    Plaintiff JUSTYNA ZUBKO VALVA relied upon the promises of THE SCHOOL

 DISTRICT, as expressed the through words and actions of the School Defendants, to protect her

 children from physical and mental abuse, torture and starvation at the hands of Valva and Pollina.

        443.    Defendant THE SCHOOL DISTRICT breached the duty of cared that it owed to

 Plaintiff and her children, and allowed her children to be physically and mentally abused, tortured

 and starved by Valva and Pollina for several years.

        444.     The SCHOOL DEFENDANTS knew, or should have known, that the three Valva

 children were being physically and mentally abused, sexually abused, tortured and starved.



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         445.     The SCHOOL DEFENDANTS were repeatedly told by Plaintiff her three children

 were being physically and mentally abused, sexually abused, tortured and starved by Valva and

 Pollina.

         446.     The SCHOOL DEFENDANTS knew, from their own observations, that the Valva

 children were coming to school with visible bruises and scratch marks, and gave inconsistent and

 implausible explanations for such injuries.

         447.     The SCHOOL DEFENDANTS knew, from their own observations, that the Valva

 children were coming to school in a severely emaciated and weakened condition, were extremely

 underweight, and were seen repeatedly trying to scrounge food off the floor and from garbage cans

 in the school.

         448.     The SCHOOL DEFENDANTS knew, from their conversations with the children,

 that Valva and Pollina had given them explicit orders to not go to the school nurse under any

 circumstances.

         449.     The SCHOOL DEFENDANTS knew, from conversations with their own

 employees, including multiple teachers and the school psychologist, about the serious concerns

 that they had regarding the Valva children.

         450.     Notwithstanding the clear and obvious signs of abuse, the Defendant SCHOOL

 DEFENDANTS did absolutely nothing to protect the children from Valva and Pollina’s abuse.

         451.     As a direct and proximate result of defendant THE SCHOOL DISTRICT’s

 negligence, based on the negligent acts and omissions of the School Defendants, Plaintiff Thomas

 Valva was beaten, starved, abused, sexually abused, tortured and caused to die on January 17,

 2020.




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        452.    As a direct and proximate result of defendant THE SCHOOL DISTRICT’s

 negligence, based on the negligent acts and omissions of the School Defendants, Plaintiff’s other

 two children, Anthony and Andrew, were beaten, starved, abused, sexually abused and tortured

 for several years.




                AS AND FOR AN NINETEENTH CLAIM FOR RELIEF
  (Under New York State Law: Negligence) (the AFC Defendants -- McCabe and Halpern).

        453.    Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        454.    Defendant Donna McCabe, in her capacity as AFC, and Defendant Ethan Halpern,

 in his capacity as AFC (collectively, the “AFC DEFENDANTS”), owed a duty of care to Plaintiff’s

 children to protect them from physical and mental abuse, torture and starvation at the hands of

 Valva and Pollina.

        455.    The AFC DEFENDANTS, through the affirmative actions and words of McCabe

 and Halpern, undertook a special duty to protect Plaintiff’s children from harm and keep them safe

 from Valva and Pollina’s abuse.

        456.    The AFC DEFENDANTS, through the affirmative actions and words of McCabe

 and Halpern, assured Plaintiff that they would keep Plaintiff’s children safe from harm and protect

 them from Valva and Pollina’s abuse.

        457.    Plaintiff JUSTYNA ZUBKO VALVA relied upon the promises of the AFC

 DEFENDANTS, as expressed the through words and actions of McCabe and Halpern, to protect

 her children from physical and mental abuse, torture and starvation at the hands of Valva and

 Pollina.
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        458.    The AFC DEFENDANTS breached the duty of cared that they owed to Plaintiff

 and her children, and allowed her children to be physically and mentally abused, tortured and

 starved by Valva and Pollina for several years.

        459.    As a direct and proximate result of the AFC DEFENDANTS’ negligence, Plaintiff

 Thomas Valva was beaten, starved, abused, tortured and caused to die on January 17, 2020.

        460.    As a direct and proximate result of the AFC DEFENDANTS’ negligence, Plaintiffs

 other two children, Anthony and Andrew, were beaten, starved, abused, sexually abused and

 tortured for several years.

                    AS AND FOR A TWENTIETH CLAIM FOR RELIEF
            (Under New York State Law: Violation of Social Services Law § 413 -- the CPS
                Defendants, the School Defendants, and the AFC Defendants).

        461.     Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

        462.    Social Services Law § 413 provides, inter alia, that when there is “reasonable cause

 to suspect that a child coming before them in their professional or official capacity is an abused or

 maltreated child ….”, such “persons and officials” are “required to report a cause a report to be

 made in accordance with this title …”. (emphasis supplied).

        463.     The CPS Defendants, the School Defendants and the AFC Defendants were all

 Mandatory Reporters under Social Services Law § 413.

        464.     For several years leading up to his death, Plaintiff JUSTYNA ZUBKO-VALVA

 repeatedly warned Defendants that her three young children, including Tommy and his two

 siblings, Anthony and Andrew, were being tortured, beaten, starved and abused at the hands of

 Valva and Pollina.

        465.    Plaintiff JUSTYNA ZUBKO-VALVA provided the above Defendants with

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 overwhelming and irrefutable evidence of abuse, including documentary evidence, audio

 recordings and transcriptions, photographic evidence, and medical evidence.

        466.    Further, Plaintiff JUSTYNA ZUBKO-VALVA provided Defendants with her

 children’s own recorded statements regarding the enormous physical, mental abuse and

 brainwashing that they were subjected to by Valva and Pollina.

        467.    Plaintiff JUSTYNA ZUBKO-VALVA also specifically warned Defendants,

 verbally and in writing, that her children were in “enormous danger of losing their lives by Michael

 Valva and Angelina Pollina.”

        468.    Notwithstanding Plaintiff JUSTYNA ZUBKO-VALVA’s repeated warnings, and

 the overwhelming evidence of abuse that Plaintiff had provided to Defendants, Defendants did

 absolutely nothing to protect the children.

        469.    Rather than taking action to protect the children, and report the multiple complaints

 of abuse that had been made -- as they were required to do under New York State Social Services

 Law § 413 -- Defendants hid the truth about the children’s health and fabricated false, misleading

 and dishonest reports about Plaintiff JUSTYNA ZUBKO-VALVA aand her children.

        470.    Defendants not only refused to remove Plaintiff JUSTYNA ZUBKO-VALVA’s

 children from the custody of Valva and Pollina, but also, suppressed, destroyed and falsified

 evidence, thereby ensuring that Claimant’s children would remain with Valva.

        471.    In so doing, Defendants flagrantly violated their legal duties under New York

 Social Services Law § 413, and exhibited a shocking indifference to the health, safety and welfare

 of Plaintiff JUSTYNA ZUBKO-VALVA’’s children.



        472.    As a direct and proximate result of Defendants’ violation of Social Services Law §

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 413, all three (3) Valva children were repeatedly beaten, abused, tortured, sexually abused and

 starved by defendants Valva and Pollina.

          473.   As a direct and proximate result of Defendants’ violation of Social Services Law §

 413, Tommy was caused to endure a slow, painful and agonizing death on January 17, 2020, when

 he froze to death inside of his father’s subfreezing garage without any food, water, clothing or

 access to a bathroom.

                  AS AND FOR A TWENTY FIRST CLAIM FOR RELIEF
          (Under New York State Law: Legal Malpractice -- Defendant McCabe and The
          Law Office of Donna McCabe)

          474.   Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

          475.   Defendant McCabe was appointed to act as AFC for all three (3) Valva children by

 Judge Fran Ricigliano in 2016.

          476.   As AFC for the Valva children, McCabe owed them a duty to act in their best

 interests at all times, and to use reasonable care to protect their health, safety and welfare at all

 times.

          477.   Defendant McCabe negligently breached her duty of cared owed to the Valva

 children.

          478.   Plaintiff JUSTYNA ZUBKO-VALVA had provided McCabe with overwhelming

 and irrefutable evidence of abuse, including documentary evidence, audio recordings and

 transcriptions, photographic evidence, and medical evidence.

          479.    Further, Plaintiff JUSTYNA ZUBKO-VALVA had provided McCabe her

 children’s own recorded statements regarding the enormous physical, mental abuse and

 brainwashing that they had been subjected to by Valva and Pollina.

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        480.     Notwithstanding Plaintiff JUSTYNA ZUBKO-VALVA’s repeated warnings, and

 the overwhelming evidence of abuse that Plaintiff JUSTYNA ZUBKO-VALVA had provided to

 Defendants that proved that her children were being severely abused by Valva and Pollina,

 Defendant McCabe did absolutely nothing.

        481.     Notwithstanding the overwhelming evidence of abuse that Plaintiff had given

 McCabe, Defendant McCabe failed to take any action whatsoever to protect the children from

 Valva and Pollina’s abuse.

        482.     Rather than taking action to protect the children, McCabe hid the truth about the

 children’s health and fabricated false, misleading and dishonest reports about Plaintiff JUSTYNA

 ZUBKO-VALVA and her children.

        483.      Rather than prioritizing the health, safety and welfare of the children, as she was

 required to do as their AFC, McCabe repeatedly acted as a “second attorney” for Valva, arguing

 on his behalf throughout the Civil Proceedings, and protecting his interests over those of the

 children.

        484.      In so doing, McCabe flagrantly violated her legal duties as an AFC, and departed

 from good and accepted practices as an attorney licensed to practice in the State of New York.

        485.    In negligently failing to take any measures to protect the Plaintiff’s children from

 Valva and Pollina’s abuse, McCabe breached her duty of care owed to the Valva children as their

 court-appointed AFC.

        486.    As a direct and proximate result of McCabe’s legal malpractice and negligence, all

 three (3) of the Valva children suffered grievous injuries, and were repeatedly subjected to abuse,

 torture, sexual abuse and starvation for two years, and Tommy was caused to freeze to death on

 January 17, 2020.

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                  AS AND FOR A TWENTY SECOND CLAIM FOR RELIEF
          (Under New York State Law: Legal Malpractice -- Defendant Halpern and the Legal
         Aid Society of Suffolk County, Inc., Children’s Law Bureau)

         487.   Plaintiff JUSTYNA ZUBKO-VALVA realleges and incorporates by reference the

 allegations set forth in the foregoing paragraphs as if fully set forth herein.

         488.   Defendant McCabe was appointed to act as AFC for all three (3) Valva children by

 Family Court Justice Bernard Cheng.

         489.   As AFC for the Valva children, Defendant Halpern owed them a duty to act in their

 best interests at all times, and to use reasonable care to protect their health, safety and welfare at

 all times.

         490.   Defendant Halpern negligently breached his duty of cared owed to the Valva

 children.

         491.    Plaintiff JUSTYNA ZUBKO-VALVA had provided Halpern with overwhelming

 and irrefutable evidence of abuse, including documentary evidence, audio recordings and

 transcriptions, photographic evidence, and medical evidence.

         492.     Further, Plaintiff JUSTYNA ZUBKO-VALVA had provided Halpern with her

 children’s own recorded statements regarding the enormous physical, mental abuse and

 brainwashing that they had been subjected to by Valva and Pollina.

         493.   Notwithstanding Plaintiff JUSTYNA ZUBKO-VALVA’s repeated warnings, and

 the overwhelming evidence of abuse that Plaintiff JUSTYNA ZUBKO-VALVA had provided to

 Defendants that proved that her children were being severely abused by Valva and Pollina,

 Defendant Halpern did absolutely nothing.




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          494.      Notwithstanding the overwhelming evidence of abuse that Plaintiff had given him,

 Defendant Halpern failed to take any action whatsoever to protect the children from Valva and

 Pollina’s abuse.

          495.      Rather than taking action to protect the children, Halpern hid the truth about the

 children’s health and fabricated false, misleading and dishonest reports about Plaintiff JUSTYNA

 ZUBKO-VALVA and her children.

          496.      Rather than prioritizing the health, safety and welfare of the children, as he was

 required to do as their AFC, Halpern effectively acted as a “second attorney” for Valva, arguing

 on his behalf throughout the Family Court Proceedings, and protecting Valva’s interests over those

 of the children.

          497.      In so doing, Halpern flagrantly violated his legal duties as an AFC, and departed

 from good and accepted legal practices as an attorney licensed to practice in the State of New

 York.

          498.      In negligently failing to take any measures to protect the Plaintiff’s children from

 Valva and Pollina’s abuse, Halpern breached his duty of care owed to the Valva children as their

 court-appointed AFC.

          499.      As a direct and proximate result of Halpern’s legal malpractice and negligence,

 all three (3) of the Valva children suffered grievous injuries, and were repeatedly subjected to

 abuse, torture, sexual abuse and starvation for two years, and Tommy was caused to freeze to death

 on January 17, 2020.

                  AS AND FOR A TWENTY-THIRD CLAIM FOR RELIEF
         (Under New York State Law: Breach of Loco Parentis – The School Defendants)

          500.       Plaintiff repeats and realleges each and every allegation set forth in the above

 paragraphs as if fully set forth herein.
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        501.       Plaintiff JUSTYNA ZUBKO VALVA entrusted her three children to the control

 and supervision of the School District.

        502.      The SCHOOL DEFENDANTS owed a duty to all students entrusted to them,

 including Plaintiff herein to act in loco parentis and to prevent foreseeable injuries.

        503.      The SCHOOL DEFENDANTS repeatedly and fragrantly breached its duty to act in

 loco parentis.

        504.      The SCHOOL DEFENDANTS knew, or should have known, that the three Valva

 children were being physically and mentally abused, tortured and starved.

        505.      The SCHOOL DEFENDANTS were repeatedly told by Plaintiff her three children

 were being physically and mentally abused, tortured and starved by Valva and Pollina.

        506.      The SCHOOL DEFENDANTS knew, from their own observations, that the Valva

 children were coming to school with visible bruises and scratch marks, and gave inconsistent and

 implausible explanations for such injuries.

        507.      The SCHOOL DEFENDANTS knew, from their own observations, that the Valva

 children were coming to school in a severely emaciated and weakened condition, were extremely

 underweight, and were seen repeatedly trying to scrounge food off the floor and from garbage cans

 in the school.

        508.      The SCHOOL DEFENDANTS knew, from their conversations with the children,

 that Valva and Pollina had given them explicit orders to not go to the school nurse under any

 circumstances.

        509.      The SCHOOL DEFENDANTS knew, from conversations with their own

 employees, including multiple teachers and the school psychologist, about the serious concerns

 that they had regarding the Valva children.

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        510.     Notwithstanding the clear and obvious signs of abuse, the Defendant SCHOOL

 DEFENDANTS did absolutely nothing to protect the children from Valva and Pollina’s abuse.

 While Defendants Schneyer and Russo informed Valva and Pollina about some of their concerns,

 they took no actions to address these concerns after it became clear that Valva and Pollina were

 continue to severely abuse, beat and starve the children.

        511.    The SCHOOL DEFENDANTS knew, or should have known, that willfully

 ignoring the clear and persistent signs of child abuse and starvation constituted a violation of its in

 loco parentis duty, and resulted in direct harm to the Valva children.

        512.     At all times material hereto, the SCHOOL DEFENDANTS were willful, wanton,

 malicious, reckless, grossly negligent, and/or negligent in their disregard for the rights and safety

 of Plaintiff, and demonstrated such moral turpitude as to cause substantial harm to the Valva

 children, and, as such, their conduct gives rise to punitive damages.

        513.    As a direct and proximate result of the SCHOOL DEFENDANTS’ violation of its

 loco parentis duties, Tommy was beaten, starved, abused, tortured and sexually abused, and was

 caused to die on January 17, 2020.

        514.    As a direct and proximate result of the THE SCHOOL DEFENDANTS’ violation

 of its loco parentis duties, Plaintiffs other two children, Anthony and Andrew, were beaten,

 starved, abused, sexually abused and tortured for several years.

                                      DEMAND FOR RELIEF

        WHEREFORE, Plaintiff JUSTYNA ZUBKO-VALVA, as Mother and Natural Guardian

 of Anthony Valva and Andrew Valva, and as Administratrix of the Estate of Thomas Valva, and

 JUSTYNA ZUBKO-VALVA, Individually, demands judgment against all defendants, except

 Judge Hope Schwartz Zimmerman, as follows:

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        (1)    On all causes of action, compensatory damages in the amount of $100,000,000.00;

        (2)    On all causes of action, punitive damages in the amount of $100,000,000.00; and

        (3)    Costs and disbursements of this action, including attorney’s fees, and for such other
               and further relief as to this Court may deem just and proper.

       With respect to the cause of action against Judge Hope Schwartz Zimmerman, violation of

 Due Process under 42 U.S.C.§ 1983 (Sixth Claim for Relief), Plaintiff JUSTYNA ZUBKO-

 VALVA, in her individual capacity, demands judgment as follows:

        (1)    A Declaration that Judge Zimmerman’s Order dated September 6, 2017, removing
               Plaintiff’s children from her custody without any notice, petition, or hearing,
               violated Plaintiff’s Due Process rights under the 5th and 14th Amendments to the
               United States Constitution;

        (2)    A Declaration that Judge Zimmerman’s Order, dated September 6, 2017, issuing a
               Full Stay Away Temporary Order of Protection, barring Plaintiff from having any
               contact from her children whatsoever, and issued without any notice, petition, or
               hearing, violated Plaintiff’s Due Process rights under the 5th and 14th Amendments
               to the United States Constitution; and

        (3)    Costs and disbursements of this action, including attorney’s fees, and for such other
               and further relief as to this Court may deem just and proper.

 Dated: New York, New York
        June 16, 2020



                                                     JON L. NORINSBERG, ESQ., PLLC


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